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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division
                                  www.flsb.uscourts.gov

In re:                                                Case No. 15-28607-BKC-JKO

GARY FRANCIS HOSTE,                                   Chapter 7

      Debtor.
___________________________________/

JEFFREY MILLER,                                       Adv. Case No.

         Plaintiff,
vs.

GARY FRANCIS HOSTE,

      Defendant.
____________________________________/

  COMPLAINT OBJECTING TO DISCHARGE AND TO DISCHARGEABILITY OF DEBT

         Jeffrey Miller (“Miller”), by counsel, brings this Complaint Objecting to Discharge and

Dischargeability of Debt, pursuant to 11 U.S.C. §§ 523 and 727, against Gary Francis Hoste

(“Hoste” or the “Debtor”), and in support thereof alleges as follows:

                                         Jurisdiction and Venue

         1.      This case was commenced by the filing of a voluntary Chapter 7 petition on

October 20, 2015 (the “Petition Date”).

         2.      This is an action objecting to Hoste’s discharge, pursuant to 11 U.S.C. § 727,

and to determine the dischargeability of a debt, pursuant to 11 U.S.C. § 523.

         3.      This is a core proceeding and this Court has jurisdiction over this action

pursuant to 28 U.S.C. §§ 157 and 1334 and Fed. R. Bankr. P. 7001.

         4.      Venue is proper herein pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               Parties

         5.      Hoste is the debtor of the above-referenced bankruptcy proceeding.




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      6.       Miller is a creditor of the above-referenced bankruptcy estate, having filed

Claim # 6-1 on March 23, 2016 in the amount of $490,084.91, including a secured claim

amount of $36,625.80 (the “Miller Claim”).

                              Miller’s Business Dealings with Hoste

      7.       At all relevant times, Hoste was a licensed chiropractor in the State of Florida

and Miller was a licensed chiropractor in the State of California.

      8.       UCRC, Inc. ("UCRC") was a Florida corporation that was incorporated on or

about February 27, 2004 by George Coufal. A copy of the Articles of Incorporation of UCRC

is attached as Exhibit "l."

      9.       UCRC was formed for the purpose of operating a chiropractic center doing

business as "Universal Chiropractic," having its principal place of business at 3838 N.

University Drive, Sunrise, Florida 33151. A true and correct copy of the fictitious name

registration, dated March 2, 2004, is attached as Exhibit "2."

      10.      Miller and Hoste first became acquainted with each other as classmates at

Life Chiropractic College West in Hayward, California, in approximately 1994.

      11.      Between 1996 and 2005, Hoste worked intermittently for Miller in the

chiropractic field. In approximately 2005 or 2006, Hoste relocated to Florida.

      12.      On or about April 2007, Hoste was working in Florida as a salaried

chiropractic physician for UCRC.

      13.      On or about April 2007, Hoste began to speak about Miller about his desire to

acquire UCRC for a purchase price of approximately $400,000. Hoste told Miller at that time

that Hoste, together with Satyam Patel ("Patel") who was an investor, were contemplating a

purchase of the chiropractic venture from the extant shareholders of UCRC, namely Kent

Bernarduci ("Bernarduci") and Robert Findlay ("Findlay").

      14.      Hoste orally communicated to Miller certain concerns that Hoste had about

the contemplated acquisition of UCRC. Amongst Hoste's concerns were that Hoste himself
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lacked the financial capacity either to purchase UCRC or to contribute capital towards the

financing of and acquisition of UCRC; that Patel had insufficient knowledge of the

chiropractic field; and that Hoste was unsure as to how to structure the transaction.

      15.     The discussions between Hoste and Miller about Hoste's intended acquisition

of UCRC continued for many months. In the beginning of the discussions, it was anticipated

by Hoste that Patel would secure a loan to finance the purchase of UCRC.

      16.     Eventually, Hoste came to understand that Patel, with or without Hoste's

assistance, lacked the requisite business acumen and/or financial wherewithal to either

purchase UCRC or to secure a loan to finance the acquisition of UCRC. Accordingly, in late

summer/early autumn of 2007, Hoste began to ask Miller whether Miller would like to join

Hoste as a "50/50 partner" in the purchase of UCRC.

      17.     In response to Hoste's request, Miller began due diligence to evaluate the

risks and benefits of the proposed deal. Throughout the period between August and

October, 2007, Miller, together with Hoste, reviewed material UCRC financial data,

including, inter alia, the UCRC Form 1120S federal tax returns for 2005 and 2006, and

traveled to visit the UCRC practice in Sunrise, Florida on multiple occasions.

      18.     On or about September 2007, Miller concluded that the investment

opportunity in UCRC was attractive. Accordingly, sometime in or around October, 2007,

Miller and Hoste entered into an oral agreement between themselves to jointly purchase the

stock of UCRC for the purposes of operating Universal Chiropractic.

      19.     Pursuant to the terms of the oral agreement, in consideration for a 50%

interest in UCRC, Miller was obligated (1) to arrange for and secure a bank loan to

purchase the ongoing practice, (2) to provide whatever money that was necessary as a

down payment to secure the loan and consummate the acquisition, (3) to provide whatever

additional incidental monies would be required to effectuate the purchase agreement, and

(4) to participate in marketing efforts as appropriate to expand the ongoing UCRC business.
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      20.     Pursuant to the terms of the oral agreement, in consideration for a 50%

interest in UCRC, Hoste, as a licensed chiropractor in Florida (which Miller is not), was

obligated to operate the practice.

      21.     The oral agreement contemplated that both Hoste and Miller, as officers of

the corporation, would draw a reasonable salary in consideration for their respective

contributions of services performed for UCRC, in conformity with the requirements of Florida

statutes.

      22.     Throughout the period between October and December 2007, Hoste

introduced Miller to the sellers of UCRC and referred to Miller at all times as his "partner" in

the acquisition. At all times material, Hoste represented to the sellers of UCRC that Miller

and Hoste would each be equal owners of the to-be-acquired UCRC stock.

      23.     Throughout the period between October and December 2007, Miller began to

negotiate the terms of the acquisition with the UCRC principals. Miller, together with Hoste,

reviewed and analyzed proposed terms for the purchase in various redactions.

      24.     On or about December 21, 2007, Bernarduci wrote a letter to Hoste and Miller

which contained the material terms of an "official offer" relating to the acquisition by Hoste

and Miller of UCRC (the "Official Offer").

      25.     On or about December 27, 2007, Hoste and Miller wrote a letter of intent

("Letter of Intent") directed to Bernarduci and Findlay outlining an updated understanding of

proposed material terms of the acquisition of UCRC by Hoste and Miller.

      26.     The Letter of lntent established a purchase price of $475,000 for UCRC.

      27.     The Letter of Intent obligated Hoste and Miller as purchasers to make a

$10,000 good faith deposit into an escrow account held by sellers' attorney Steven Lander,

Esq. ("Lander") within ten (10) business days of the signing of the Letter of Intent. The good

faith deposit was designated as refundable if Hoste and Miller failed in their efforts to secure

financing to enable the acquisition.
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      28.     On or about January 26, 2008, Miller tendered the required $10,000 payment

into the escrow account held by attorney Lander. The good faith deposit was tendered from

Miller's personal accounts.

      29.     From December 27, 2007 through June 3, 2008, Miller worked tirelessly with

lender CIT Small Business Lending Corporation (hereinafter, "CIT" or "the Lender") to

secure the requisite financing for the UCRC acquisition. During this time, Miller participated

in negotiating material terms of the loan and performed all tasks necessary to ensure

compliance with the Lender's exhaustive checklist of conditions precedent to the closing of

the loan. During this time, Miller flew from California to Florida approximately once every

two weeks to ensure that the CIT loan would come to fruition and to work on business

development for UCRC.

      30.     On or about March 6, 2008, Hoste and Miller, as the designated

"Purchasers," entered into a Stock Purchase Agreement ("UCRC Stock Purchase

Agreement") with Bernarduci and Findlay, as Sellers, pursuant to which Sellers agreed to

deliver 100% of the outstanding shares of UCRC, Inc. in consideration of a $475,000

purchase price. A true and correct copy of the UCRC Stock Purchase Agreement is

attached as Exhibit "3."

      31.     The UCRC Stock Purchase Agreement contemplated a closing date for the

loan transaction to occur within fifteen days of May 6, 2008, subject to placement of the CIT

loan and licensing from the Florida Agency for Health Care Administration ("AHCA").

      32.     By subsequent stipulation of all parties, the closing date for the loan

transaction was ultimately extended until June 30, 2008.

      33.     On or about March 2008, CIT representative Mark Thompson ("Thompson")

orally represented to Hoste and Miller that the loan processing would proceed more

smoothly if Hoste were listed on the loan documents as an eighty-five percent (85%) owner



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of the purchasing entity. Thompson based this statement on the fact that Hoste's personal

credit rating was superior to Miller's.

      34.      Accordingly, Hoste and Miller agreed that for purposes of securing the loan,

Hoste and Miller would be listed on all loan documents as having 85% and 15% ownership

interests, respectively, in UCRC.

      35.      Hoste and Miller further agreed with Thompson that Hoste and Miller would

be listed as having 85% and 15% ownership interests, respectively, on all licensing

applications which Hoste and Miller were in the process of preparing for the Florida Agency

on Health Care Administration ("AHCA").

      36.      It was understood between and amongst Hoste, Miller and Thompson that

Hoste and Miller would then enter into a Stock Purchase Agreement for the purpose of

restoring the intended equal partnership interests (Hoste 50%; Miller 50%) in UCRC, to

become effective upon the acquisition of UCRC. It was further understood between and

among Hoste, Miller and Thompson that CIT assented to such an executory share transfer,

creating an equal ownership interest between Hoste and Miller. Moreover, the express

terms of the AHCA license application allowed for a transfer of up to 35% of the shares

without the need to re-file the AHCA license application.

      37.      On or about April 26, 2008, Hoste and Miller entered into a Stock Purchase

Agreement (the "Hoste Stock Purchase Agreement"), pursuant to which Hoste committed to

transfer thirty-five shares of capital stock of UCRC, Inc., representing thirty-five percent

(35%) of the company's outstanding shares, to Miller, such transfer to occur at the closing

of Hoste's and Miller's acquisition of UCRC. A true and correct copy of the Hoste Stock

Purchase Agreement is attached as Exhibit "4."

      38.      On or about June 27, 2008, CIT representative Kathy Forbes-Hunter sent an

e-mail to Hoste and Miller notifying them that the Small Business Administration requires



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that when two unrelated individuals purchase the stock of a corporation, the individuals

must form a new entity to hold title to the shares of the corporation.

      39.     In compliant response to the e-mail notice of Kathy Forbes-Hunter of the SBA

requirement, on June 30, 2008, Hoste and Miller formed UCRC Holdings, Inc. ("UCRC

Holdings"), a Florida corporation. The Articles of Incorporation designated Hoste as

President and Director of the corporation; the Articles of Incorporation designated Miller as

Vice-President and Secretary of the corporation. See Exhibit “5”.

      40.     The acquisition of UCRC by UCRC Holdings was consummated along with

the closing of the loan on or about June 30, 2008 (the "Closing Date"). The transfer of stock

certificates from the sellers of UCRC to Hoste and Miller, each as 50% owners of UCRC

Holdings, occurred contemporaneously on the Closing Date.

      41.     Since the Closing Date, Hoste has at all times maintained exclusive

possession, custody and control over all of the corporate documents of UCRC and UCRC

Holdings. Upon information and belief, the corporate documents contain, inter alia, the stock

certificates reflecting the ownership of UCRC by UCRC Holdings (or, alternatively, Hoste

and Miller), as such duly executed certificate[s] are required by UCRC's Corporate Bylaws.

      42.     On the Closing Date, it was understood by Hoste, Miller, the sellers of UCRC

stock and all agents or employees of CIT involved with the loan transaction, that Hoste and

Miller each would be a director of UCRC and UCRC Holdings and that each would

participate actively and equally in the management and decision-making involved in

operating the corporation. It was, further, the understanding and intention of all the parties

that, corporate resources permitting, each would receive distributions from UCRC in equal

amounts as long as each assumed an active and ongoing responsibility for carrying a

portion of the burdens necessary to operate the business.

      43.     Between December 27, 2007 through June 3, 2008, in the presence of Miller,

Hoste at all times represented that Miller was Hoste's "partner" and that Miller was to be a
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50% owner/partner of UCRC upon the completion of the acquisition. Among the persons to

whom Hoste represented that Miller was Hoste's full partner and a prospective 50% owner

of UCRC were the following: Bernarduci; Findlay; Patel; Thompson, Lander; Bob Hovenan

(UCRC's accountant); Dr. Stuart Sherman (Hoste's friend); William Chacon (Hoste's friend);

and Donald Rosen (the then-deputy mayor of Sunrise, Florida).

      44.     Approximately one week after the Closing Date, Bob Hovenan, certified public

accountant for UCRC and UCRC Holdings, requested that Hoste and Miller each sign and

submit Internal Revenue Service forms (such as a Form 2553 election to be taxed under

Subchapter S of Chapter 1 of the Internal Revenue Code), indicating that Hoste and Miller

each had a 50% ownership interest in UCRC Holdings. Copies of the subject IRS

documents have been at all times material within the exclusive possession, custody, and

control of Hoste.

      45.     On or about August 2008, Hoste and Miller had a business development

meeting with attorneys and other personnel from the Hollywood, Florida law firm of Dell &

Schaefer, P.A. in an attempt to market their chiropractic services. At the meeting, Hoste and

Miller were seeking a commitment from the attorneys to refer their personal injury clients to

UCRC for treatment. At the meeting with Dell & Schaeffer, Hoste at all times represented

that Miller and Hoste each had a fifty percent (50%) ownership interest in UCRC and/or

UCRC Holdings.

      46.     Between December 2007 and August 2008, in multiple conversations, Hoste

told his friend Dr. Stuart Sherman that Hoste needed Miller to complete the deal for UCRC

because Hoste lacked Miller's experience, marketing savvy, and knowledge to operate a

chiropractic business. Further, Hoste confided in Sherman that Hoste had no money and

was thus unable to afford to purchase UCRC by himself. Hoste specifically represented to

Sherman that in consideration for Miller's services and cash contributions, Miller was going

to become, and in fact did become, a 50% owner of UCRC and UCRC Holdings.
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      47.     Between December 2007 and May 2008, Hoste and Miller met with Don

Rosen, the then-deputy mayor of Sunrise, Florida, for the purpose of discussions relating to

the "lay of the land" in developing a chiropractic practice within the municipality. Hoste and

Miller discussed with Rosen various logistics relating to corporate marketing, regulatory

requirements, and participation in the municipal insurance plan. At the meeting with Mr.

Rosen, Hoste specifically represented that Hoste and Miller were "equal partners" in the

chiropractic venture.

      48.     Between October 2007 and August 2008, Miller contributed cash, property,

and the aforedescribed services in consideration for a fifty percent (50%) ownership interest

in UCRC and UCRC Holdings, and in reliance upon Hoste's representations that Miller

would be an equal equity partner in UCRC and UCRC Holdings.

      49.     Specifically, Miller contributed cash of Twenty Thousand One Hundred Forty-

Two and 25/100 ($20,142.25), as follows: Eight Thousand Dollars ($8,000) on or about the

Closing Date to consummate UCRC Holdings' acquisition of UCRC through the loan

secured with CIT; Ten Thousand Dollars ($10,000) deposit on or about January 26, 2008

into an escrow account held by attorney Stephen Lander for the benefit of the UCRC

Sellers; Two Thousand Forty-Two and 25/100 Dollars ($2,042.25) for fees to AHCA,

including fingerprinting, on or about March 3, 2008; $100 for purchase of shares of UCRC

Holdings common stock from Hoste, on or about June 30, 2008.

      50.     Specifically, Miller contributed property as follows: two (2) computers; 1

external hard drive; 1 briefcase; 2 suitcases; office furniture; a full wardrobe; and personal

effects, of an aggregate approximate value of Eighteen Thousand Dollars ($18,000).

      51.     In addition, between December 2007 and August 2008, Miller incurred travel

expenses of approximately Four Thousand Six Hundred Dollars ($4,600) and miscellaneous

other business expenses which were advanced personally by Miller on behalf of UCRC

(and/or UCRC Holdings) in an approximate aggregate amount of Four Thousand Two
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Hundred Dollars ($4,200). It was expressly agreed between Hoste and Miller that the travel

and business expenses incurred by Miller were to be reimbursed by UCRC.

      52.     Beginning in late August or early September 2008, shortly after the UCRC

acquisition by Hoste and Miller, Hoste inexplicably began to avoid communications initiated

by Miller, including notices provided by Miller that he was canceling various marketing

events in view of Hoste's silence, and including requests made by Miller as a shareholder of

UCRC and UCRC Holdings for access to corporate documents, including access to the

corporate books and records.

      53.     In view of Hoste's evasive conduct, Miller feared a squeeze-out by Hoste and

duly noticed an October 14, 2008 special meeting of the officers and directors of UCRC

Holdings at which Miller intended to address the potential issues of squeeze-out and

oppressive conduct by Hoste by acting as a controlling shareholder without controlling

authority as a fifty percent (50%) shareholder.

      54.     Hoste ignored the notice of the special meeting of the officers and directors of

UCRC Holdings and did not appear at the special meeting on October 14, 2008.

      55.     Unbeknownst to Miller at the time that he noticed the October 14, 2008

special meeting, Hoste had already taken unilateral action to amend the Articles of

Incorporation of UCRC Holdings on October 3, 2008, to reflect that Hoste was the sole

initial officer and/or director of the corporation. A true and correct copy of the Articles of

Amendment to Articles of Incorporation of UCRC Holdings (the "Articles of Amendment") is

attached as Exhibit "6."

      56.     The Articles of Amendment to the UCRC Holdings Articles of Incorporation

further represented that the adopted amendment, which effectively squeezed out Miller as

an officer and director of UCRC Holdings, was approved by a majority vote of the

shareholders, which representation was signed by Hoste.



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      57.      By signing the Articles of Amendment, Hoste intentionally misrepresented

that corporate action had been duly taken by a sufficient number of shareholder votes when

in fact Hoste had knowledge that no such shareholder vote ever took place.

      58.      By signing the Articles of Amendment and intentionally misrepresenting that

corporate action was duly taken when it was not, Hoste acted unlawfully in violation of

Florida statutes, and with malice and oppression, in willful disregard to the rights of Miller as

an investor, shareholder, and director of UCRC Holdings and UCRC.

      59.      By signing the Articles of Amendment and intentionally misrepresenting that

corporate action was duly taken when it was not, Hoste violated the express terms of the

loan with CIT which require that any change of ownership only be made with the Lender's

consent.

      60.      Upon information and belief, since Hoste began to operate UCRC, Hoste

drew a salary in excess of the salary which was agreed to by Hoste and Miller and in

excess of a reasonable salary commensurate with the reasonable salary of a chiropractic

physician of similar skill and experience practicing in a similar locality.

      61.      Upon information and belief, since Hoste began to operate UCRC, Hoste

diverted corporate revenues for his own personal financial benefit by creating disbursement

ledger entries for purported corporate expenditures which lack documentary support.

      62.      Upon information and belief, since Hoste began to operate UCRC, Hoste took

advantage of corporate opportunities for his personal financial aggrandizement and

preferentially paid distributions to himself at the expense of other shareholders, and in

wanton and reckless disregard for the rights of Miller, who had an equal equity interest in

corporate distributions.

      63.      The aforestated acts of Hoste were wrongful and committed for the purpose

and effect of diminishing the value of Miller's interest in UCRC and UCRC Holdings relative

to Hoste's interest in these corporations.
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      64.     As a direct and foreseeable result of Hoste's self-dealing, commingling,

mismanagement, and fraudulent misrepresentation and concealment, Miller's equity interest

in UCRC and UCRC Holdings was seriously jeopardized and damaged.

      65.     Miller demanded that Hoste allow Miller to conduct a full and open audit of

operations of UCRC. In response, Hoste expressly refused to cooperate to permit such an

audit. Miller further requested that Bob Hovenan, Certified Public Accountant, provide Miller

with access to corporate tax records of UCRC and UCRC, Inc., and Hovenan indicated that

he was instructed by Hoste not to provide Miller with access to those records.

                            The Federal District Court Lawsuit

      66.     As a result of the foregoing, on August 31, 2011, Miller commenced a

Complaint and Verified Shareholder Derivative Petition (the “Complaint”) against Hoste and

UCRC and UCRC Holdings, as nominal defendants, in the United States District Court for

the Southern District of Florida (the “District Court Action”), Case No. 0:11-cv-61946-RSR,

for declaratory relief, equitable accounting, conversion, civil theft, unjust enrichment,

common law fraud and breach of fiduciary duty (as part of the shareholder derivative

petition). A true and correct copy of the Complaint is attached hereto as Exhibit “7”.

      67.     On March 6, 2013, United States District Judge Robin S. Rosenbaum entered

an Order on Plaintiff’s Motion for Partial Summary Judgment in the District Court Action,

whereby certain factual findings were made. See attached Exhibit “8”.

      68.     Thereafter, Miller and Hoste settled the District Court Action, which resulted in

a Final Judgment Upon Consent, entered in the District Court Action, in the amount of

$500,000.00. See attached Exhibit “9”.

                                 Hoste’s Bankruptcy Filing

      69.     As stated above, Hoste filed a voluntary petition for Chapter 7 bankruptcy

relief on the Petition Date [ECF No. 1]. The voluntary petition was accompanied by Hoste’s

initial schedules and statement of financial affairs, signed under penalty of perjury [ECF
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Nos. 1 and 4] (the “Original Schedules”).              Subsequently, on October 23, 2015 and

November 9, 2015, Hoste amended his Schedule F to add additional creditors, also under

penalty of perjury [ECF Nos. 11, 14 and 15] (the “First Amended Schedules”).

       70.      Sonya L. Salkin (the “Trustee”) was duly appointed as the Chapter 7 trustee

in Hoste’s Chapter 7 case.

       71.      The Trustee conducted the initially-scheduled § 341 Meeting of Creditors

(“Initial 341 Meeting”), with Hoste placed under oath, in the bankruptcy case on November

23, 2015. Hoste was accompanied by his then counsel of record, Matthew McGuigan, Esq.

Under direct questioning by the Trustee, Hoste offered no oral amendments or additions to

his scheduled assets, other than a discussion of certain medical equipment not directly

accounted for on his Original Schedules or First Amended Schedules.

       72.      After her direct questioning at the Initial 341 Meeting, the Trustee opened the

floor to questions from creditors, as two creditors had appeared through counsel, including

Miller’s non-bankruptcy counsel. Only upon questioning from counsel for Miller was it first

revealed that Hoste had funded, either directly or through businesses dominated by Hoste,

the acquisition of a substantial quantity of gold and silver (with aggregate purchase prices

exceeding $200,000.00) in the form of bullion and non-collectable coins (the “Precious

Metals”) in the years preceding the Petition Date. The Precious Metals were not scheduled

in any way on the Original Schedules or First Amended Schedules.

       73.      In addition to the complete omission of the Precious Metals from the Original

Schedules and First Amended Schedules, Hoste’s Original Schedules, First Amended

Schedules and Initial 341 Meeting testimony failed to disclose the existence of, or any

transfers to, a corporate entity now entitled Your Doctors Center LLC (“Your Doctors

Center”), formed on September 17, 2015, just over a month prior to the Petition Date. 1


         1
           Your Doctors Center was originally organized under the name “Your Doctor Medical Center LLC” on
September 17, 2015, with the name changed to Your Doctors Center LLC by a filing with Florida Secretary of
State, Division of Corporations, on November 12, 2015.
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                                           The Precious Metals

       74.     Subsequent investigation has revealed that Hoste, either directly or through

the corporate entities owned and dominated by Hoste, had acquired large amounts of gold

and silver, with a purchase price exceeding $200,000.00, during the period starting no later

than October 2009 and ending no sooner than June 2013.                     At least some of these

transactions were, finally, disclosed on Hoste’s belatedly-filed Amended Schedules filed on

January 29, 2016 (the “Second Amended Schedules”) [ECF No. 56], specifically at pages

16, 19-43.

       75.     Upon information and belief, the Precious Metals purchased by Hoste in the

years 2009 through 2011 were stored domestically in the United States.

       76.     Upon information and belief, in the months prior the filing of the District Court

Action, Hoste and his wife, Cindi Chan (“Chan”), were well aware of the dispute with Miller

that ultimately led to the filing of District Court Action.

       77.     Accordingly, on or about April 28, 2012, Chan executed an agreement to ship

the bulk of the then-existing Precious Metals to in a facility in Montreal, Quebec, Canada,

called Entreposage Store-Wel Enr. (the “Montreal Facility”). Subsequently, the Precious

Metals stored in the Montreal Facility were repatriated to the United States for shipment to a

facility in Singapore called The Safe House SG PTE Ltd. (“Safe House”).

       78.     Accordingly, on or about October 5, 2015, some 15 days before the Petition

Date, Chan executed an agreement to utilize the services of Loomis International (US) Inc.

(“Loomis”) to ship all of the gold holdings, and much of the silver holdings, of the Precious

Metals to The Safe House in Singapore. Subsequently, in accordance with such agreement,

Loomis did in fact ship the Precious Metals, with the exception of a relatively small quantity

of silver, to The Safe House, with whom Chan had executed a storage agreement on or

prior to October 16, 2015.



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                                     Your Doctors Center

      79.      From at least June 2008 until shortly before the Petition Date, Hoste worked

as chiropractor, exclusively through business entities for which he was no less than a 50%

owner. The last such entity, Gary Hoste, DC (“GDDC”), started in 2013, was 100% owned

by Hoste.

      80.      Nevertheless, on September 17, 2015, approximately one month prior to the

Petition Date, Hoste and Chan created Your Doctors Center to serve as Hoste’s new

employer. Notwithstanding that Chan was (a) not a chiropractor herself and (b) provided no

capitalization of the new company, ownership of Your Doctors Center was split 99% to

Chan and 1% to Hoste. Hoste supplied all of the existing equipment, patients, patient lists,

goodwill and other intangibles of GDDC to Your Doctors Center without any payment—and

for only a 1% share of the new company.

               Count 1 – Objection to Discharge (11 U.S.C. § 727(a)(2)(A))

      81.      Miller re-alleges all of the allegations set forth in each of the paragraphs

above.

      82.      This is an action requesting the denial of Hoste’s discharge, pursuant to 11

U.S.C. § 727(a)(2)(A).

      83.      Miller is a creditor of Hoste.

      84.      The afore-described actions of Hoste as to the Precious Metals and Your

Doctors Center constitute transfers, removal and/or concealment of property that Hoste,

within one year of the Petition Date, undertook with the actual intent to hinder, delay or

defraud Miller and other creditors of Hoste.

      85.      Accordingly, the actions of Hoste were in contravention of 11 U.S.C. §

727(a)(2)(A), requiring that Hoste’s discharge now be denied.

         WHEREFORE, Miller requests that the Court enter a judgment denying Hoste’s

discharge.
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                          Leiderman Shelomith Alexander + Somodevilla, PLLC
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                 Count 2 – Objection to Discharge (11 U.S.C. § 727(a)(4))

      86.      Miller re-alleges all of the allegations set forth in each of the paragraphs

above.

      87.      This is an action requesting the denial of Hoste’s discharge, pursuant to 11

U.S.C. § 727(a)(4).

      88.      The failure of Hoste to schedule the acquisition and holding of the Precious

Metals in his Original and First Amended Schedules was done knowingly and fraudulently,

and resulted in Hoste making a false oath in connection with the execution of his Original

and First Amended Schedules, as well as his testimony at the Initial 341 Meeting.

      89.      The failure of Hoste to schedule the creation of, and his interest in, Your

Doctors Center was done knowingly and fraudulently, and resulted in Hoste making a false

oath in connection with the execution of his Original and First Amended Schedules, as well

as his testimony at the Initial 341 Meeting.

      90.      Accordingly, the actions of Hoste were in contravention of 11 U.S.C. §

727(a)(4), requiring that Hoste’s discharge now be denied.

         WHEREFORE, Miller requests that the Court enter a judgment denying Hoste’s

discharge.

     Count 3 – Non-Dischargeability of the Miller Claim (11 U.S.C. § 523(a)(2)(A))

      91.      Miller re-alleges all of the allegations set forth in each of the paragraphs

above.

      92.      This is an action requesting a determination that the debt owed by Hoste to

Miller is excepted from Hoste’s discharge and is not dischargeable, should Hoste receive a

discharge, pursuant to 11 U.S.C. § 523(a)(2)(A).

      93.      Hoste   incurred    the    debt    to   Miller   under     false   pretenses,   false

misrepresentations, and/or actual fraud.



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      94.       Specifically, Hoste made a false representation, as described above, in order

to deceive Miller.

      95.       Miller relied on the misrepresentation.

      96.       Such reliance was justified.

      97.       Miller sustained a loss, in the form of the Miller Claim, as a result of the

misrepresentation.

      98.       Furthermore, Hoste’s scheme of removing and concealing the Precious

Metals and Your Doctor’s Center from the reach of Miller and other creditors is a fraudulent

conveyance scheme that constitutes fraud. Husky Int'l Elecs., Inc. v. Ritz, 136 S. Ct. 1581

(2016).

      WHEREFORE, Miller respectfully requests that the Court enter a judgment

determining that the debt(s) owed to Miller by Hoste (i.e. the Miller Claim) are non-

dischargeable, in the amount of $490,084.91, plus interest and costs.

          Count 4 – Non-Dischargeability of the Miller Claim (11 U.S.C. § 523(a)(4))

      99.       Miller re-alleges all of the allegations set forth in each of the paragraphs

above.

      100.      This is an action requesting a determination that the debt owed by Hoste to

Miller is excepted from Hoste’s discharge and is not dischargeable, should Hoste receive a

discharge, pursuant to 11 U.S.C. § 523(a)(4).

      101.      The actions referenced above by Hoste constituted fraud or defalcation while

acting in a fiduciary capacity.

      102.      Specifically, a trust was created, whereby Hoste was held to equitable duties

to deal with property of the corporations referenced above, for the benefit of Miller.

      103.      The Miller Claim was caused by Hoste’s fraud and defalcation while he acted

in such fiduciary capacity.



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      104.     Hoste acted as a fiduciary to Miller at the time that the Miller Claim was

created.

      105.     The actions referenced above by Hoste were also in the nature of

embezzlement and/or larceny and/or conversion.

      WHEREFORE, Miller respectfully requests that the Court enter a judgment

determining that the debt(s) owed to Miller by Hoste (i.e. the Miller Claim) are non-

dischargeable, in the amount of $490,084.91, plus interest and costs.

         Count 5 – Non-Dischargeability of the Miller Claim (11 U.S.C. § 523(a)(6))

      106.     Miller re-alleges all of the allegations set forth in each of the paragraphs

above.

      107.     This is an action requesting a determination that the debt owed by Hoste to

Miller is excepted from Hoste’s discharge and is not dischargeable, should Hoste receive a

discharge, pursuant to 11 U.S.C. § 523(a)(6).

      108.     The actions referenced above by Hoste constituted a willful and malicious

injury (or injuries) by Hoste to Miller and/or Miller’s property.

      109.     Specifically, Hoste engaged in willful conduct, as evidenced above.

      110.     Hoste acted with malice and indented to injure Miller and/or Miller’s property.

      111.     Hoste’s actions were wrongful and without just cause.

      112.     Miller sustained a loss, in the form of the Miller Claim, as a result of Hoste’s

actions.

      WHEREFORE, Miller respectfully requests that the Court enter a judgment

determining that the debt(s) owed to Miller by Hoste (i.e. the Miller Claim) are non-

dischargeable, in the amount of $490,084.91, plus interest and costs.




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Dated: July 15, 2016                         LEIDERMAN SHELOMITH ALEXANDER
                                             + SOMODEVILLA, PLLC
                                             Counsel for Miller
                                             2699 Stirling Road, Suite C401
                                             Ft. Lauderdale, Florida 33312
                                             Telephone: (954) 920-5355
                                             Facsimile: (954) 920-5371

                                             By:_________/s/______________
                                                   ZACH B. SHELOMITH
                                                   Florida Bar No. 0122548
                                                   zbs@lsaslaw.com




                       ________________________
                 Leiderman Shelomith Alexander + Somodevilla, PLLC
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   STOCK PURCHASE AGREEMENT

          THIS AGREEMENT is made and entered into this 6 th day of March, 2008, by and between Kent
   Eernarduci and Dr. Robert Findlay, ("SELLERS") and Dr. Gary Hoste, DC and Jeffrey Miller,
   ("PURCHASERS")

            WHEREAS, the SELLERS are the record owners and holders of 100% of the outstanding shares
   of the capital stock of [CRC, Inc., ('Corporation"), a corporation, which Corporation has issued capital
   stock of 100 shares of $1.00 par value common stock; and
           WHEREAS, the PURCHASERS desire to purchase said stock and the SELLERSdesire to sell
   said stocl, upon the terms and subject to the conditions hereinafter set forth;
           NOW. THEREFORE, in consideration of the mutual covenants and agreements contained in this
   Agreement, and in order to consummate the purchase and the sale of the Corporation's Stock
   aforementioned, it is hereby agreed as follows:

           Purchase and Sale: Subject to the terms and conditions hereinafter set forth, at the closing of the
           transfer contemplated hereby, the SELLERS shall convey, transfer and deliver to the
           PURCHASERS certificates representing such stock, and the PURCHASERS shall produce from
           the SELLERS the Corporation's Stock in consideration of the purchase price et forth in this
           agreement. The certificates representing the Corporation's stock shall be duly endorsed for
           transfer or accompanied by appropriate stock transfer powers duly executed in blank, in either
           case with signatures guaranteed in the customary fashion, and shall have all the necessary
           documentary transfer to stamps affixed hereto at the expense of the SELLERS. The closing of
           the transactions contemplated by this Agreement ("Closing"), shall be held on May 6, 2008, or
           within 15 days of May 6, 2008 if necessary for financing or AHCA approval at Fort Lauderdale
           Florida or such other plate, date, and time as the parties hereto may otherwise agree,
           AMOUNT ARID PAYMENT OF PURCHASE PRICE: Total consideration and method of
           payment thereof axe fully set out in Exhibit "A" attached hereto and made a part hereof.
           REPRESENTATIONS AND WARRANTIES OF SELLERS: SELLERS hereby warrant and
           rtprCaent,
                (a) Organization and Standing.
                Corporation is a corporation duly organized, validly existing and in good standing under the
                laws of the State of Florida and has the corporate power and authority to carry on its business
                as it is now being conducted.
                (b) Restrictions on Stock.
                           i.      The SELLERS are not a party to any agreement, written or oral, creating
                                    rights in respect to the corporation's stock in any third person or relating to
                                    the voting of the Corporation stock.
                            ii.     SELLERS are the lawful owner of the Stock, free and clear of all security
                                    interests, leis, encumbrances, equities and other charges.
                            iii.    There are no existing warrants, options, stock purchase agreements,
                                    redemption agreements, restrictions of any nature, calls or rights to
                                    subscribe of any character relating to the stool€, not are there any securities
                                    convertible to such stock

       4. REPRESENTATIONS AND WARRANTIES OF SELLERS AND PURCHASERS. SELLERS
          AND PURCHASERS hereby represent and warrant that there has been no act or omission by
          SELLERS, PURCHASERS of the Corporation which would give rise to any valid claim against
          any of the parties hereto for a brokerage Commission, finders fee, or other like payment in
          connection with the transactions contemplated hereby.
       5. GENERAL PROVISIONS
              (a) Entire Agreement. This agreement (including the exhibits hereto and any written
                  amendments hereof executed by the parties) constitutes the entire Agreement and
                  supersedes all prior agreements and understandings, oral or written, between the parties
                  hereto with respect to the subject matter hereof.



                                                     Exhibit "3"
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                 (b) Sections and other headings. The section and other headings contained in this agreement
                     arc for reference purposes only and shall not affect the meaning or interpretation of this
                     agreement.
                 (c) Governing Law. This agreement, and all transactions contemplated hereby, shall be
                     governed by, construed and enforced in accordance with the laws of the State of Florida.

       6. HOLD HARMLESS. SELLERS agree to hold the PURCHASERS harmless and indemnify, and
          defend for any debt or legal action arising from events which occurred prior to the time of closing,
          with the exception of the Toshiba copier which shall remain a debt of the corporation and
          assumed by the PURCHASERS.

       7. FINANCING. The PURCHASERS shall be entitled to a refund of the $10,000.00 good faith
       deposit, if financing is unable to be obtained at $370,000.00 at prime + 2.75 or better, by buyer or if
       AHCA approval is not obtained. Sellers to provide certified copies of all financials as needed to
       procure loan. Seller agrees to cooperate in any reasonable fashion to help secure the financing of the
       practice,



       $. COVENANT NOT TO COMPETE. SELLERS agree that they will not individually or
           collectively as a member of a partnership, sole proprietorship, corporation, or any other entity or
           as a consultant, manager, advisor, lender, guarantor or in any other capacity, either directly or
           indirectly engage in the same or similar business as are presently engaged in by the Seller, nor
           will seller induce, solicit, or in any other way attempt to induce patients, staff or referral sources
           to cease doing business with, reduce business with, or reduced services from UCRC, for a term
           of three (3) years from the date of closing anywhere within Broward Count+, Florida. Any
           violation of said agreement will constitute beach and SELLERS AGREE TO PAY a minimum of
           $5,000.00 per violation and reimburse the PURCHASERS reasonable attorney's fees, cou rt costs,
           and all other expenses, re lated to the breach_ PURCHASERS specifically exclude the ownership,
           andlor operation of an MRI or Imaging center within the Broward County Area. Additionally
           purchasers contemplate future joint marketing, in which under cer tain circumstances, patient will
           be given a choice of location, and may choose to travel to a facility owned by the SELLERS,
           outside of the Broward county area. This would be exempt from the non-compete covenant, and
              therefore not considered a breach of the non-compete Covenant
       9. ASSISTANCE AFTER CLOSING. The Sellers agree to assist the Purchasers in the operation of
              the business for a period of Ten (10) months following closing as outlined in Exhibit "B".
       10. AHCA LICENSE. The seller shall procu re a license from the State of Florida (A.HCA) for the
              legal operation of UCRC, Inc. as a chiropractic office at the expense of the purchasers.


   Dated this                     of ^ _                            2008

   IN WITNESS WHEREOF, this Agreement has been executed by each of the individual parties hereto on the date
   first above wri tt en.



   Sellers:


              Kent       dttcci                                         I1r, Rabe Findlay



   Buyers:


                       7 er                                                         Gary Haste, Dc




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       EXHIBIT °A" AMOUNT AND PAYMENT OF PURCHA SE PRI CE




             (a) Consideration. As total consideration for the purchase and sale of the
                 Corporation's Stock, pursuant to this Agreement, the PURCHASERS shall pay to
                 the SELLERS the sum of $475,000.40 such consideration to be referred to in this
                 Agreement as the "Purchase Price".
             (b) Payments. The purchase price shall be paid as follows;
                    i.        The sum of $100,000.00 has been previously paid to SELLERS.
                    ii.       The sum of $325,000.00 to be delivered to SELLERS AT TIME OF
                              CLOSING.
                    iii.      The sum of $50,000.00 to be delivered to SELLERS in 10 equal
                              consecutive monthly payments, beginning on the 31 "t day alcr closing.
       Breakdown of Purchase Price¢


      Eg uip me tl=                                                   $120,000 00
      Patient Files                                                   $70,000.00
      Account Receivable                                              $120,000.00
      Tr^nsitionlsupportlassistance                                   $105,000.00
      Non-compete                                                     $30,000.00
      Hold harmless from Sellers                                      $30,000.00




       By:
                                                        By:
                Kent       rnaducci




      Buyers:

      Sy;                                               By.
                    ey illex                                                  Dr, Gary Haste, D C




                                                   Exhibit "3"
	

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          EXHIBIT "B" ASSISTANCE AFTER CLOSING




          A: SCHEDULING DURING POST CLOSING PERIOD

          BOB FINDLAY:

          Month 1:      2 Half Days (4 His.) in office
                        4 Hours per Week by phone

          Month 2-6: 4 Hours per Week by Phone


          KENT BERNADUCCI:

          Months 1-3: 16 Hours per week external Marketing
                       4 Hours per week average in offi ce
                       4 Hours per week by Phone
                       Appear for Depositions and train Purchasers on Depositions

          Months 4-6 8 Hours per week average for exte rn al Marketing
                       4 Hours per week by Phone
          Months 1-12 Appear for and train Purchasers on Depositions, Trials and depositions




          By:	                     µ	                    By
                  °ent crnaducci




                                                         By:
                     rey z ler                                            Dr. Gary Hoste, DC




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  FORT LAUDERDALE DIVISION

                                              CASE NO.:

   JEFFREY MILLER, individually,
   and derivatively on behalf of Nominal
   Defendants UCRC, Inc. and UCRC
   Holdings, Inc.,
           Plaintiff,

   v.

   GARY HOSTE,

           Defendant,

   and

   UCRC, Inc. and UCRC Holdings,
   Inc.,

           Nominal Defendants.


                             COMPLAINT AND VERIFIED SHAREHOLDER
                                    DERIVATIVE PETITION

                                            COMPLAINT

           Plaintiff, JEFFREY MILLER, individually, sues Defendant, GARY HOSTE, and alleges:

           1.      Plaintiff JEFFREY MILLER ("Miller) is a resident of the State of California, and

   is otherwise sui juris.

           2.      Defendant GARY HOSTE ("Hoste") is a resident of the State of Florida, and is

   otherwise sui juris.




                                             Exhibit "7"
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           3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332, as there is

   complete diversity between the parties and the amount in controversy exceeds $75,000, exclusive

   of interest and costs.

           4.      This Court is vested with the authority to grant the declaratory relief sought herein

   under 28 U.S.C. §2201 (Declaratory Judgment Act).

           5.      Venue in this judicial district is proper pursuant to 28 U.S.C. §1391, as Hoste

   resides in this judicial district and a substantial part of the events or omissions giving rise to the

   claim occurred in Broward County, Florida.

                              General Allegations Common to All Counts

           6.      Hoste is a licensed chiropractor in the State of Florida.

           7.      Miller is a licensed chiropractor in the State of California.

           8.      UCRC, Inc. (hereinafter "UCRC") is a Florida corporation that was incorporated

   on or about February 27, 2004 by George Coufal. A copy of the Articles of Incorporation of

   UCRC is attached as Exhibit "l."

           9.      UCRC was formed for the purpose of operating a chiropractic center doing

   business as "Universal Chiropractic," having its principal place of business at 3838 N. University

   Drive, Sunrise, Florida 33151. A true and correct copy of the fictitious name registration, dated

   March 2, 2004, is attached as Exhibit "2."

           10.     Miller and Hoste first became acquainted with each other as classmates at Life

   Chiropractic College West in Hayward, California, in approximately 1994.

           11.     Between 1996 and 2005, Hoste worked intermittently for Miller m the

   chiropractic field. In approximately 2005 or 2006, Hoste relocated to Florida.



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                                                Exhibit "7"
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          12.     On or about April 2007, Hoste was working in Florida as a salaried chiropractic

   physician for UCRC.

          13.     On or about April 2007, Hoste began to speak about Miller about his desire to

   acquire UCRC for a purchase price of approximately $400,000. Hoste told Miller at that time

   that Hoste, together with Satyam Patel ("Patel") who was an investor, were contemplating a

   purchase of the chiropractic venture from the extant shareholders of UCRC, namely Kent

   Bernarduci ("Bernarduci") and Robert Findlay ("Findlay").

          13.     Hoste orally communicated to Miller certain concerns that Hoste had about the

   contemplated acquisition of UCRC. Amongst Hoste's concerns were that Hoste himself lacked

   financial capacity either to purchase UCRC or to contribute capital towards the financing of an

   acquisition of UCRC; that Patel had insufficient knowledge of the chiropractic field; and that

   Hoste was unsure as to how to structure the transaction.

          14.     The discussions between Hoste and Miller about Hoste's intended acquisition of

   UCRC continued for many months. In the beginning of the discussions, it was anticipated by

   Hoste that Patel would secure a loan to finance the purchase ofUCRC.

          15.     Eventually, Hoste came to understand that Patel, with or without Hoste's

   assistance, lacked the requisite business acumen and/or financial wherewithal to either purchase

   UCRC or to secure a loan to finance the acquisition of UCRC.              Accordingly, in late

   summer/early autumn of 2007, Hoste began to ask Miller whether Miller would like to join

   Hoste as a "50/50 partner" in the purchase ofUCRC.

          16.     In response to Hoste's request, Miller began due diligence to evaluate the risks

   and benefits of the proposed deal. Throughout the period between August and October, 2007,

   Miller, together with Hoste, reviewed material UCRC financial data, including, inter alia, the

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   UCRC Form 1120S federal tax returns for 2005 and 2006, and traveled to visit the UCRC

   practice in Sunrise, Florida on multiple occasions.

          17.     On or about September 2007, Miller concluded that the investment opportunity in

   UCRC was attractive. Accordingly, sometime on or about October, 2007, Miller and Hoste

   entered into an oral agreement between themselves to jointly purchase the stock ofUCRC for the

   purposes of operating Universal Chiropractic.

          18.     Pursuant to the terms of the oral agreement, in consideration for a 50% interest in

   UCRC, Miller was obligated (1) to arrange for and secure a bank loan to purchase the ongoing

   practice, (2) to provide whatever money that was necessary as a down payment to secure the loan

   and consummate the acquisition, (3) to provide whatever additional incidental monies would be

   required to effectuate the purchase agreement, and (4) to participate in marketing efforts as

   appropriate to expand the ongoing UCRC business.

          19.     Pursuant to the terms of the oral agreement, in consideration for a 50% interest in

   UCRC, Hoste, as a licensed chiropractor in Florida (which Miller is not), was obligated to

   operate the practice.

          20.     The oral agreement contemplated that both Hoste and Miller, as officers of the

   corporation, would draw a reasonable salary in consideration for their respective contributions of

   services performed for UCRC, in conformity with the requirements of Florida statutes.

          21.     Throughout the period between October and December 2007, Hoste introduced

   Miller to the sellers of UCRC and referred to Miller at all times as his "partner" in the

   acquisition. At all times material, Hoste represented to the sellers of UCRC that Miller and

   Hoste would each be equal owners of the to-be-acquired UCRC stock.



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          22.     Throughout the period between October and December 2007, Miller began to

   negotiate the terms of the acquisition with the UCRC principals. Miller, together with Hoste,

   reviewed and analyzed proposed terms for the purchase in various redactions.

          23.     On or about December 21, 2007, Bernarduci wrote a letter to Hoste and Miller

   which contained the material terms of an "official offer" relating to the acquisition by Hoste and

   Miller of UCRC (the "Official Offer").

          24.     On or about December 27, 2007, Hoste and Miller wrote a letter of intent ("Letter

   of Intent") directed to Bernarduci and Findlay outlining an updated understanding of proposed

   material terms of the acquisition ofUCRC by Hoste and Miller.

          25.     The Letter oflntent established a purchase price of $475,000 for UCRC.

          26.     The Letter of Intent obligated Hoste and Miller as purchasers to make a $10,000

   good faith deposit into an escrow account held by sellers' attorney Steven Lander, Esq.

   ("Lander") within ten (10) business days of the signing of the Letter of Intent. The good faith

   deposit was designated as refundable if Hoste and Miller failed in their efforts to secure

   financing to enable the acquisition.

          27.     On or about January 26, 2008, Miller tendered the required $10,000 payment into

   the escrow account held by attorney Lander. The good faith deposit was tendered from Miller's

   personal accounts.

          28.     From December 27, 2007 through June 3, 2008, Miller worked tirelessly with

   lender CIT Small Business Lending Corporation (hereinafter, "CIT" or "the Lender") to secure

   the requisite financing for the UCRC acquisition.       During this time, Miller participated in

   negotiating material terms of the loan and performed all tasks necessary to ensure compliance

   with the Lender's exhaustive check list of conditions precedent to the closing of the loan.

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   During this time, Miller flew from California to Florida approximately once every two weeks to

   ensure that the CIT loan would come tQ fruition and to work on business development for

   UCRC.

           29.    On or about March 6, 2008, Hoste and Miller, as the designated "Purchasers,"

   entered into a Stock Purchase Agreement ("UCRC Stock Purchase Agreement") with Bemarduci

   and Findlay, as Sellers, pursuant to which Sellers agreed to deliver 100% of the outstanding

   shares ofUCRC, Inc. in consideration of a $475,000 purchase price. A true and correct copy of

   the UCRC Stock Purchase Agreement is attached as Exhibit "3."

           30.    The UCRC Stock Purchase Agreement contemplated a closing date for the loan

   transaction to occur within fifteen days of May 6, 2008, subject to placement of the CIT loan and

   licensing from the Florida Agency for Health Care Administration ("AHCA").

           31.    By subsequent stipulation of all parties, the closing date for the loan transaction

   was ultimately extended until June 30, 2008.

           32.    On or about March 2008, CIT representative Mark Thompson ("Thompson")

   orally represented to Hoste and Miller that the loan processing would proceed more smoothly if

   Hoste were listed on the loan documents as an eighty-five percent (85%) owner of the

   purchasing entity. Thompson based this statement on the fact that Hoste's personal credit rating

   was superior to Miller's.

           33.    Accordingly, Hoste and Miller agreed that for purposes of securing the loan,

   Hoste and Miller would be listed on all loan documents as having 85% and 15% ownership

   interests, respectively, in UCRC.

           34.    Hoste and Miller further agreed with Thompson that Hoste and Miller would be

   listed as having 85% and 15% ownership interests, respectively, on all licensing applications

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   which Hoste and Miller were in the process of preparing for the Florida Agency on Health Care

   Administration ("AHCA").

          35.     It was understood between and among Hoste, Miller and Thompson that Hoste

   and Miller would enter into a Stock Purchase Agreement for the purpose of restoring the

   intended equal partnership interests (Hoste 50%; Miller 50%) in UCRC, to become effective

   upon the acquisition of UCRC. It was further understood between and among Hoste, Miller and

   Thompson, that CIT assented to such an executory share transfer, creating an equal ownership

   interest between Hoste and Miller.          Moreover, the express terms of the AHCA license

   application allowed for a transfer of up to 35% of the shares without the need to refile the AHCA

   license application.

           36.     On or about April 26, 2008, Hoste and Miller entered into a Stock Purchase

   Agreement (the "Hoste Stock Purchase Agreement"), pursuant to which Hoste committed to

   transfer thirty-five shares of capital stock of UCRC, Inc., representing thirty-five percent (35%)

   of the company's outstanding shares, to Miller, such transfer to occur at the closing of Hoste's

   and Miller's acquisition of UCRC.         A true and correct copy of the Hoste Stock Purchase

   Agreement is attached as Exhibit "4."

           37.     On or about June 27, 2008 CIT representative Kathy Forbes-Hunter sent an e-mail

   to Hoste and Miller notifying them that the Small Business Administration requires that when

   two unrelated individuals purchase the stock of a corporation, the individuals must form a new

   entity to hold title to the shares of the corporation.

           38.     In compliant response to the e-mail notice of Kathy Forbes-Hunter of the SBA

   requirement, on June 30, 2008, Hoste and Miller formed UCRC Holdings, Inc. ("UCRC

   Holdings"), a Florida Corporation. The Articles of Incorporation designated Hoste as President

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   and Director of the corporation; the Articles of Incorporation designated Miller as Vice-President

   and Secretary of the corporation. See Exhibit 5.

          39.     The acquisition of UCRC by UCRC Holdings was consummated along with the

   closing of the loan on or about June 30, 2008 (the "Closing Date").        The transfer of stock

   certificates from the sellers of UCRC to Hoste and Miller, each as 50% owners of UCRC

   Holdings, occurred contemporaneously on the Closing Date.

          40.     Since the Closing Date, Hoste has at all times maintained exclusive possession,

   custody and control over all of the corporate documents of UCRC and UCRC Holdings. Upon

   information and belief, the corporate documents contain, inter alia, the stock certificates

   reflecting the ownership of UCRC by UCRC Holdings (or, alternatively, Hoste and Miller), as

   such duly executed certificate[s] are required by UCRC's Corporate Bylaws.

          41.     On the Closing Date, it was understood by Hoste, Miller, the sellers of UCRC

   stock and all agents or employees of CIT involved with the loan transaction, that Hoste and

   Miller each would be a director of UCRC and UCRC Holdings and that each would participate

   actively and equally in the management and decision-making involved in operating the

   corporation. It was, further, the understanding and intention of all the parties that, corporate

   resources permitting, each would receive distributions from UCRC in equal amounts as long as

   each assumed an active and ongoing responsibility for carrying a portion of the burdens

   necessary to operate the business.

          42.     Between December 27, 2007 through June 3, 2008, in the presence of Miller,

   Hoste at all times represented that Miller was Hoste's "partner" and that Miller was to be a 50%

   owner/partner of UCRC upon the completion of the acquisition. Among the persons to whom

   Hoste represented that Miller was Hoste's full partner and a prospective 50% owner of UCRC

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   were the following: Bernarduci; Findlay; Patel; Thompson, Lander; Bob Hovenan (UCRC's

   accountant); Dr. Stuart Sherman (Hoste's friend); William Chacon (Hoste's friend); and Donald

   Rosen (deputy mayor of Sunrise, Florida).

          43.     Approximately one week after the Closing Date, Bob Hovenan, certified public

   accountant for UCRC and UCRC Holdings, requested that Hoste and Miller each sign and

   submit Internal Revenue Service forms (such as a Form 2553 election to be taxed under

   Subchapter S of Chapter 1 of the Internal Revenue Code ).indicating that Hoste and Miller each

   had a 50% ownership interest in UCRC Holdings. Copies of the subject IRS documents have

   been at all times material within the exclusive possession, custody, and control of Hoste.

          44.     On or about August 2008, Hoste and Miller had a business development meeting

   with attorneys and other personnel from the Hollywood, Florida law firm of Dell & Schaefer,

   P.A. in an attempt to market their chiropractic services. At the meeting, Hoste and Miller were

   seeking a commitment from the attorneys to refer their personal injury clients to UCRC for

   treatment. At the meeting with Dell & Schaeffer, Hoste at all times represented that Miller and

   Hoste each had a fifty percent (50%) ownership interest in UCRC and/or UCRC Holdings.

          45.     Between December 2007 August 2008, in multiple conversations, Hoste told his

   friend Dr. Stuart Sherman that Hoste needed Miller to complete the deal for UCRC because

   Hoste lacked Miller's experience, marketing savvy, and knowledge to operate a chiropractic

   business. Further, Hoste confided in Sherman that Hoste had no money and was thus unable to

   afford to purchase UCRC by himself.          Hoste specifically represented to Sherman that in

   consideration for Miller's services and cash contributions, Miller was going to become, and in

   fact did become, a 50% owner ofUCRC and UCRC Holdings.



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           46.    Between December 2007 and May 2008, Hoste and Miller met with Don Rosen,

   the deputy mayor of Sunrise, Florida, for the purpose of discussions relating to the "lay of the

    land" in developing a chiropractic practice within the municipality. Hoste and Miller discussed

   with Rosen various logistics relating to corporate marketing, regulatory requirements, and

    participation in the municipal insurance plan. At the meeting with Mr. Rosen, Hoste specifically

   represented that Hoste and Miller were "equal partners" in the chiropractic venture.

           47.    Between October 2007 and August 2008, Miller contributed cash, property, and

   the aforedescribed services in consideration for a fifty percent (50%) ownership interest in

    UCRC and UCRC Holdings, and in reliance upon Hoste's representations that Miller would be

    an equal equity partner in UCRC and UCRC Holdings.

           48.    Specifically, Miller contributed cash of Twenty Thousand One Hundred Forty-

    Two and 25/100 ($20,142.25), as follows: Eight Thousand Dollars ($8,000) on or about the

    Closing Date to consummate UCRC Holdings' acquisition of UCRC through the loan secured

    with CIT; Ten Thousand Dollars ($10,000) deposit on or about January 26, 2008 into an escrow

    account held by attorney Stephen Lander for the benefit of the UCRC Sellers; Two Thousand

    Forty-Two and 25/100 Dollars ($2,042.25) for fees to AHCA, including fingerprinting, on or

    about March 3, 2008; $100 for purchase of shares of UCRC Holdings common stock from

    Hoste, on or about June 30, 2008.

           49.    Specifically, Miller contributed property as follows:      two (2) computers; 1

    external hard drive; 1 briefcase; 2 suitcases; office furniture; a full wardrobe; and personal

    effects, of an aggregate approximate value of Eighteen Thousand Dollars ($18,000).

           50.     In addition, between December 2007 and August 2008, Miller incurred travel

    expenses of approximately Four Thousand Six Hundred Dollars ($4,600) and miscellaneous

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   other business expenses which were advanced personally by Miller on behalf of UCRC (and/or

   UCRC Holdings) in an approximate aggregate amount of Four Thousand Two Hundred Dollars

   ($4,200).     It was expressly agreed between Hoste and Miller that the travel and business

   expenses incurred by Miller were to be reimbursed by UCRC.

           51.     Beginning in late August or early September 2008, shortly after the UCRC

   acquisition by Hoste and Miller, Hoste inexplicably began to avoid communications initiated by

   Miller, including notices provided by Miller that he was canceling various marketing events in

   view of Hoste's silence, and including requests made by Miller as a shareholder of UCRC and

   UCRC Holdings for access to corporate documents, including access to the corporate books and

   records.

           52.     In view ofHoste's evasive conduct, Miller feared a squeeze-out by Hoste and duly

   noticed an October 14, 2008 special meeting of the officers and directors ofUCRC Holdings at

   which Miller intended to address the potential issues of squeeze-out and oppressive conduct by

   Hoste by acting as a controlling shareholder without controlling authority as a fifty per cent

    (50%) shareholder.

           53.     Hoste ignored the notice of the special meeting of the officers and directors of

   UCRC Holdings and did not appear at the special meeting on October 14, 2008.

           54.     Unbeknownst to Miller at the time that he noticed the October 14, 2008 special

   meeting, Hoste had already taken unilateral action to amend the Articles of Incorporation of

   UCRC Holdings on October 3, 2008, to reflect that Hoste was the sole initial officer and/or

    director of the corporation. A true and correct copy of the Articles of Amendment to Articles of

    Incorporation ofUCRC Holdings (the "Articles of Amendment") is attached as Exhibit "6."



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           55.     The Articles of Amendment to the UCRC Holdings Articles of Incorporation

    further represented that the adopted amendment, which effectively squeezed out Miller as an

    officer and director of UCRC Holdings, was approved by a majority vote of the shareholders,

    which representation was signed by Hoste.

           56.     By signing the Articles of Amendment, Hoste has intentionally misrepresented

    that corporate action had been duly taken by a sufficient number of shareholder votes when in

    fact Hoste had knowledge that no such shareholder vote ever took place.

           57.     By signing the Articles of Amendment and intentionally misrepresenting that

    corporate action was duly taken when it was not, Hoste has acted unlawfully in violation of

    Florida statutes, and with malice and oppression, in willful disregard to the rights of Miller as an

    investor, shareholder, and director ofUCRC Holdings and UCRC.

           58.     By signing the Articles of Amendment and intentionally misrepresenting that

    corporate action was duly taken when it was not, Hoste has violated the express terms of the loan

    with CIT which require that any change of ownership only be made with the Lender's consent.

           59.     Upon information and belief, since Hoste began to operate UCRC, Hoste has been

    drawing a salary in excess of the salary which was agreed to by Hoste and Miller and in excess

    of a reasonable salary commensurate with the reasonable salary of a chiropractic physician of

    similar skill and experience practicing in a similar locality.

           60.     Upon information and belief, since Hoste began to operate UCRC, Hoste has been

    diverting corporate revenues for his own personal financial benefit by creating disbursement

    ledger entries for purported corporate expenditures which lack documentary support.

           61.     Upon information and belief, since Hoste began to operate UCRC, Hoste has been

    taking advantage of corporate opportunities for his personal financial aggrandizement and has

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    been preferentially paying distributions to himself at the expense of other shareholders, and in

    wanton and reckless disregard for the rights of Miller, who has an equal equity interest in

    corporate distributions.

           62.     The aforestated acts of Hoste were wrongful and committed for the purpose and

    effect of diminishing the value of Miller's interest in UCRC and UCRC Holdings relative to

    Hoste' s interest in these corporations.

           63.     As a direct and foreseeable result of Hoste's self-dealing, commingling,

    mismanagement, and fraudulent misrepresentation and concealment, Miller's equity interest in

    UCRC and UCRC Holdings has been seriously jeopardized and damaged.

            64.    Miller has demanded that Hoste allow Miller to conduct a full and open audit of

    operations of UCRC. In response, Hoste has expressly refused to cooperate to permit such an

    audit. Miller has further requested that Bob Hovenan, Certified Public Accountant, provide

    Miller with access to corporate tax records of UCRC and UCRC, Inc., and Hovenan has

    indicated that he has been instructed by Hoste not to provide Miller with access to those records.

            65.     To date, Miller has never been provided with any corporate tax returns for UCRC

    and UCRC Holdings, nor has he been provided with any Schedule K-1 or other reflection of his

    distributive share of partnership income/deductions.

                                       FIRST CAUSE OF ACTION
                                          (Declaratory Relief)

            66.     Miller realleges paragraphs 1 through 65, inclusive, as Paragraph 66 of Count I.

            67.     This is an action for a declaratory relief pursuant to 28 U.S.C. §2201.

            68.     Miller requests that this Court declare his rights and other legal relations between

    him and Hoste in view of the facts as alleged above. In particular, Miller requests that this Court


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   declare that Hoste's willful misconduct by intentionally misrepresenting to the Florida Secretary

   of State that UCRC Holdings' Articles of Incorporation were amended to exclude Miller as an

   Officer and Director constitutes an improper squeeze-out of Miller as an officer and director of

   UCRC Holdings.

           69.       Miller further requests that this Court declare that in view of all of the facts and

   circumstances, that Miller has a vested interest as a fifty per cent (50%) shareholder of UCRC

   and UCRC Holdings, with a commensurate right to fifty percent (50%) of profits and

   distributions of these two corporations.

           70.       Miller further requests that this Court declare that Hoste has improperly and

   unlawfully acted as a controlling shareholder when he was not, and is so doing has unlawfully

   usurped his corporate authority to the detriment of Miller.

           71.       The declarations sought herein concerns a present justiciable controversy as to a

   state of facts, and Miller has an actual, present, and adverse interest in the subject matter, either

   in fact or law.

           72.       The antagonistic interests are all before this Court by proper process.

           73.       The relief sought herein is neither for the purpose of giving of legal advice by the

    Court nor for the purpose of seeking answers to questions propounded by curiosity.

           WHEREFORE, Miller respectfully requests that this Court enter judgment in his favor

    against Hoste, as set forth below.

                                     SECOND CAUSE OF ACTION
                                        (Equitable Accounting)

           74.       Miller realleges paragraphs 1 through 65, inclusive, as Paragraph 74 of Count II.

           75.       Being entrusted with the sole and exclusive custody of UCRC's books and


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    records and with all books and records detailing the operational history of UCRC since the

    Closing Date, Hoste is obligated to correctly account to each shareholder for the operations of

    UCRC.

            76.    Hoste has refused to honor Miller's repeated demands for access to the

    operational accounts and for a full accounting of the operations ofUCRC.

            77.    The amount of money due from Hoste to Miller is unknown to Miller and cannot

    be completely and accurately ascertained without an accounting of all the financial transactions

    ofUCRC since the Closing Date.

            78.    Miller has no adequate remedy at law.

            79.    Miller is entitled to an equitable accounting of the operations of UCRC and

    UCRC Holdings since the Closing Date.

            WHEREFORE, Miller respectfully requests that this Court enter judgment in his favor

    against Hoste, as set forth below.

                                     THIRD CAUSE OF ACTION
                                           (Conversion)

            80.    Miller realleges paragraphs 1 through 65, inclusive, as Paragraph 80 of Count III.

            81.    Hoste has intentionally and wrongfully diverted Miller's property interest in

    shares of UCRC and UCRC Holdings common stock, as well as Miller's concomitant property

    interest in UCRC's profits and the benefits of such profits to Hoste's own personal accounts.

            82.    Hoste has further intentionally diverted certain capital investments in UCRC

    and/or UCRC Holdings made by Miller of personal property, consisting of office equipment and

    furniture, to Hoste's personal accounts.




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           83.     Such profits and capital investment are properly the property of Miller and Miller

    has an immediate right to a possessory interest in the property.

           84.     Hoste's conduct in diverting and exerting unauthorized dominion over Miller's

    property constitutes conversion without privilege and in bad faith.

           85.     As a result of Hoste's conduct, Miller has been damaged in an amount to be

    determined by the trier of fact, together with prejudgment interest.

           86.     Miller has demanded the return of his personal property, which demand was

    refused and rejected.

           WHEREFORE, Miller respectfully requests that this Court enter judgment in his favor

    against Hoste, as set forth below.

                                                  COUNT IV
                                                  Civil Theft

                       Cause of Action Under Fla. Stat.§§ 772.11and812.035
                                 for Violation of Fla. Stat. §812.014

           87.     Miller realleges paragraphs 1through65, inclusive, as Paragraph 87 of Count IV.

           88.     Hoste knowingly and willfully obtained money and property belonging to Miller

    with the specific criminal intent to deprive Miller, either temporarily or permanently, of the

    money or the beneficial ownership of fifty per cent (50%) of the shares of common stock of

    UCRC and UCRC Holdings, which were supposed to be issued to Miller, in the case of UCRC

    Holdings, and to be transferred to Miller, in the case of UCRC, and which indeed were issued

    and transferred to Miller as of the Closing Date, in consideration for Miller's investment of cash,

    property and services performed for UCRC and UCRC Holdings, as more particularly set forth

    above, in violation of Fla. Stat. §812.014.

            89.    As a result, Miller has been injured and has lost the value of his money, personal

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    property and property interest in the value of his UCRC common stock and UCRC Holdings

   common stock, plus interest from the date of such deprivation.

              90.   More than thirty (30) days prior to the filing of this action, Miller made written

   demand on Hoste for three times the value of the property subject to civil theft, and Hoste has

   failed and refused to satisfy the demand or to return any of Miller's money or property.

              91.   Based on the foregoing, Miller is entitled to reasonable attorney's fees pursuant to

   Fla. Stat.§§ 772.11 and 772.185, as amended.

              92.   Moreover, Miller is entitled to the remedies provided by Fla. Stat. §§ 812.035 and

    772.11.

              WHEREFORE, Miller respectfully requests that this Court enter judgment in his favor

    against Hoste, as set forth below.

                                              COUNTV
                                           Unjust Enrichment

              93.   Miller realleges paragraphs 1 through 65, inclusive, as Paragraph 93 of Count V.

              94.   Through his contributions of cash, capital equipment and tireless dedication of

    services performed on behalf of UCRC and UCRC Holdings between October 2007 and

    September 2008, Miller has conferred a benefit on Hoste, who at all times material has had

    knowledge of the benefit.

              95.   Hoste has voluntarily accepted and retained the benefit conferred by Miller.

              96.   Under the facts and circumstances that have been alleged with particularity in this

    Complaint, it would be inequitable for Hoste to retain the benefits conferred by Miller without

    paying for the benefits.




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           WHEREFORE, Miller respectfully requests that this Court enter judgment in his favor

    against Hoste, as set forth below.

                                              COUNT VI
                                    Alternative Common Law Fraud

           97.     Miller realleges paragraphs 1through65, inclusive, as Paragraph 97 of Count VI.

           98.     At all times material, Hoste has represented that Miller would be an equal equity

    partner in UCRC and UCRC Holdings as more fully alleged with specificity, supra.

           99.     The representations made by Hoste were knowingly false at the time that the

    representations were made.

           100.    Hoste knowingly and maliciously made the representations for the purpose of

    inducing Miller to secure a loan and to provide cash, personal property and services to enable

    himself (through UCRC Holdings, ultimately) to finance the acquisition of UCRC.

           101.    In justifiable reliance on the representations that he would be an equal equity

    partner of UCRC and UCRC Holdings, Miller in fact was induced to contribute, and did

    contribute, cash, personal property and services which were utilized for the purpose of acquiring

    UCRC by Hoste and Miller.

            102.   But for the contributions of Miller, the consummation of the acquisition of UCRC

    by Hoste and Miller (through UCRC Holdings, ultimately) would never have occurred.

            103.   As a result of the actions taken by Miller in reliance on Hoste's

    misrepresentations, Miller has suffered damages in the form of loss of cash and personal

    property, loss of revenues from an ongoing business as a direct and foreseeable result of the time

    expended assisting Hoste in the acquisition of UCRC, and loss of benefit of the bargain upon

    which Miller relied.


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           WHEREFORE, Miller respectfully requests that this Court enter judgment in his favor

    against Hoste, as set forth below.

                     VERIFIED SHAREHOLDER DERIVATIVE PETITION

           Plaintiff, Jeffrey Miller, by and through undersigned counsel, files this Verified

    Shareholder Derivative Petition against Defendant Gary Hoste, and alleges:

           104.    Miller realleges Paragraphs 1 through 65, inclusive, as Paragraph 104.

           105.    This is a shareholder derivative action brought by Plaintiff for the benefit of

    Nominal Defendants UCRC, Inc. and UCRC HOLDINGS, Inc.

           106.    Other than Hoste, Miller is the sole putative shareholder of UCRC.       As such,

    Miller will fairly and adequately represent the interests of UCRC and its shareholders in

    enforcing the rights ofUCRC.

           107.    Other than Hoste, Miller is the sole putative shareholder of UCRC Holdings.

    As such, Miller will fairly and adequately represent the interests of UCRC Holdings and its

    shareholders in enforcing the rights of UCRC Holdings.

           108.    At all times material, Miller was a shareholder in fact of UCRC or Miller's

    shareholder interest later devolved on him by operation of law.

           109.    At all times material, Miller was a shareholder in fact of UCRC Holdings or

    Miller's shareholder interest later devolved on him by operation oflaw.

           110.    This action is not brought as a collusive action to confer jurisdiction that this

    Court would otherwise lack.

           111.    Hoste currently purports to be the sole shareholder of UCRC and in fact is acting

    in the capacity of UCRC's controlling shareholder.       Hoste has attained control of UCRC

    through fraud or, in the alternative, oppression or unlawful squeeze out of Miller as a 50%

                                                    19



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    stockholder, through Hoste's intentional misrepresentation that Miller is either not a

    shareholder of UCRC or was removed as a shareholder by a vote of the majority shares of

    UCRC common stock. As such, the controlling shareholders ofUCRC have interests which are

    in this lawsuit.

            112.       Hoste currently purports to be the sole shareholder of UCRC Holdings and in

    fact is acting in the capacity of UCRC Holding's controlling shareholder. Hoste has attained

    control of UCRC Holdings through fraud or, in the alternative, through oppression or unlawful

    squeeze out of Miller as a 50% stockholder, through Haste's intentional misrepresentation that

    Miller is either not a shareholder of UCRC or was removed as a shareholder by a vote of the

    majority shares of UCRC Holdings' common stock. As such, the controlling shareholders of

    UCRC Holdings have interests which are antagonistic to Miller and UCRC Holdings is thus

    properly aligned as a defendant, together with Hoste, in this lawsuit.

            113.       Miller has not made any effort to seek remediation of Hoste' s breaches of

    fiduciary duties to the shareholders of UCRC from the directors of UCRC. In view of the fact

    that Hoste acts with self-designated authority as the "sole director" of UCRC, which self-

    appointment has occurred unlawfully and with malice and oppression towards Miller, any

    effort by Miller to obtain desired action from the directors ofUCRC (Hoste) would be futile.

            114.       On or about October 8, 2008, Miller noticed a meeting of the officers and

    directors of UCRC Holdings for the purpose of asking the corporation to address Haste's

    breaches of fiduciary duties to UCRC Holdings' shareholders, which breaches are more fully

    set forth below.

            115.       Hoste ignored the notice of the meeting of the officers and directors.

                                                  COUNT VII

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                                  (Breach of Fiduciary Duty/UCRC)

           116.    Miller realleges paragraphs 1 through 65 and 105 through 115, inclusive, as

    Paragraph 116 of Count VII.

           117.    As the president and shareholder of UCRC, which is a close corporation, Hoste

    owes a fiduciary duty to other shareholders, including Miller. Tillis v. United Parts, Inc., 395 So.

    2d 618 (Fla. 5th DCA 1981).

           118.    As a director of UCRC, Hoste owes a fiduciary duty to the corporation and its

    shareholders to discharge his duties: (a) in good faith; (b) with the care an ordinarily prudent

    person in a like position would exercise under similar circumstances; and (c) in a manner he

    reasonably believes to be in the best interests of the corporation.

           119.    Miller placed trust in Hoste and Hoste accepted that trust.

            120.   Further, Hoste's fiduciary duty to Miller arises out of Hoste's status as sole

    operator ofUCRC, with exclusive dominion over the financial data and reporting

           121.    Hoste has engaged in self-dealing and breached his fiduciary duty owed to Miller

    as a shareholder of UCRC by:

                   a.      compensating himself excessively and making preferential illicit

    distributions to himself, which also constitutes corporate waste pursuant to Fla. Stat. §607.07401;

                   b.      failing to disclose all material information, including the corporate records

    and financial information relating to the operations ofUCRC;

                   c.      exceeding the scope of his authority by instructing CPA Bob Hovenan to

    deny Miller, a 50% shareholder, access to financial information relating to the operations of

    UCRC;



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                   d.        squeezing out Miller from the operations and enjoyment of the enterprise

    without consideration;

                   e.        converting Miller's personal property interest in UCRC, for his own

    personal benefit and thus depriving Miller of his direct, indirect, derivative or residual interest in

    UCRC's book of business and/or its benefits.

                   f.        refusing to pay Miller (the other shareholder) while making preferential

    distribution to himself;

                   g.        diverting or misappropriating revenues from the operations of UCRC

    solely for his personal benefit.

                   h.        usurping corporate opportunities; and

                   i.        wasting corporate assets by failing to take advantage of Miller's special

    expertise as a developer of corporate markets.

            122.   In doing so, Hoste acted purposefully, maliciously, and with wanton or reckless

    disregard for the rights and interests of UCRC and Miller as a shareholder of UCRC, in

    derogation of his fiduciary duties.

            123.   As there was no legitimate business purpose for Hoste's actions, Hoste's actions

    constitute breaches of Hoste's fiduciaries duties owed as a director of UCRC not to use his

    control as an advantage over other stockholders.

            124.   As a direct and proximate result of Hoste's breaches of his fiduciary duties, Miller

    has suffered damages in an amount to be proven at trial.

           WHEREFORE, Miller prays for judgment against Hoste, as set forth below.

                                              COUNT VIII
                               (Breach of Fiduciary Duty/UCRC Holdings)


                                                      22



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           125.    Miller realleges paragraphs 1 through 65, and 105 through 115, inclusive, as

    Paragraph 122 of Count VIII.

           126.    As a shareholder of UCRC Holdings,which is a close corporation, Hoste owes a

    fiduciary duty to other shareholders, including Miller. Tillis v. United Parts, Inc., 395 So. 2d 618

    (Fla. 5th DCA 1981).

           127.    As a director of UCRC Holdings, Hoste owes a fiduciary duty to the corporation

    and its shareholders to discharge his duties: (a) in good faith; (b) with the care an ordinarily

    prudent person in a like position would exercise under similar circumstances; and (c) in a manner

    he e reasonably believes to be in the best interests of the corporation.

           128.    Miller placed trust in Hoste and Hoste accepted that trust.

            129.   Further, Hoste's fiduciary duty to Miller arises out of Hoste's status as sole

    operator of UCRC Holdings, with exclusive dominion over the financial data and reporting

           130.    Hoste has engaged in self-dealing and breached his fiduciary duty owed to Miller

    as a shareholder ofUCRC Holdings by:

                   a.        compensating himself excessively and making            preferential illicit

    distributions to himself, which also constitutes corporate waste pursuant to Fla. Stat. §607.07401;

                   b.        failing to disclose all material information, including the corporate books

    and records and financial information relating to the operations ofUCRC Holdings;

                   c.        squeezing out Miller from the operations and enjoyment of the enterprise

    without consideration;

                   d.        making a material misrepresentation to the Florida Secretary of State that

    a majority vote was taken at a shareholder meeting to oust Miller as an officer and director of

    UCRC Holdings, when in fact no such meeting was held and no such majority vote was taken;

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                   e.      converting Miller's personal property interest in UCRC Holdings for his

    own personal benefit and thus depriving Miller of his direct, indirect, derivative or residual

    interest in UCRC Holdings' book of business and/or its benefits.

                   f.      refusing to pay Miller (the other shareholder) while making preferential

    distribution to himself;

                   g.      diverting or misappropriating revenues from the operations of UCRC

    Holdings solely for his personal benefit; and

                   h.      usurping corporate opportunities.

            131.   In doing so, Hoste acted purposefully, maliciously, and with wanton or reckless

    disregard for the rights and interests of UCRC Holdings and Miller as a shareholder of UCRC

    Holdings, in derogation of his fiduciary duties.

            132.   As there was no legitimate business purpose for Hoste's actions, Hoste's actions

    further constituted a breach of Hoste's fiduciaries duties owed as a director of UCRC Holdings

    not to use his control as an advantage over other stockholders.

            133.   As a direct and proximate result of Hoste's breaches of his fiduciary duties, Miller

    has suffered damages in an amount to be proven at trial.

            WHEREFORE, Miller prays for judgment against Hoste, as set forth below.

                                           PRAYER FOR RELIEF

            Miller prays that this Court enter judgment in his favor, as follows:

            A.      As declaratory relief, declaring that Miller has a vested fifty percent (50%) equity

    interest in UCRC and/or UCRC Holdings with a comcomitant entitlement to an equal share of

    corporate profits and distributions;



                                                       24



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               B.   Ordering an equitable accounting of all earnings, profits and other benefits arising

    from the operations ofUCRC and/or UCRC Holdings since the Closing Date;

               C.   Awarding Miller compensatory and punitive damages for Hoste's conversion;

               D.   Awarding Miller damages for civil theft pursuant to Fla. Stat. §772.11 in an

    amount to be determined at trial, to represent the trebling of the current value of the equity

    position in UCRC and UCRC Holdings of which Miller has been wrongfully deprived by Hoste,

    together with statutory interest, costs and attorney's fees. Further, Miller requests that this Court

    order that Hoste divest himself of that portion of his interest in UCRC and UCRC Holdings, Inc

    which has been wrongfully taken from Miller, pursuant to Fla. Stat. §812.035.

               E.   Disgorging corporate profits and distributions which Hoste has personally

    attained through unjust enrichment;

               F.   Awarding Miller compensatory and punitive damages for fraud, including lost

    profits;

               G.   For director and controlling shareholder Hoste's breaches of fiduciary duty to

    UCRC and UCRC Holdings shareholders,

                    1.     Awarding UCRC and UCRC Holdings the amount of damages sustained

    by the respective corporations as a result of Hoste' s breaches of fiduciary duties, abuse of

    control, waste of corporate assets and unjust enrichment, including restitution to UCRC and

    UCRC Holdings shareholders from the individual Defendant Hoste, and ordering disgorgement

    of all profits, benefits, and other compensation obtained by Hoste;

                    2.     Awarding Miller, as the sole shareholder of UCRC and UCRC Holdings

    other than Hoste, compensatory and punitive damages sustained as a result of Hoste's breaches

    of fiduciary duties, abuse of control, waste of corporate assets and unjust enrichment;

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                     3.      Awarding extraordinary equitable and/or injunctive relief as permitted by

       law. equity and state statutory provisions, including attaching, impounding, imposing a

       constructive trust on or otherwise restricting Hoste's assets which have been obtained from his

       improper and/or unlawful activities so as to ensure that Miller. on behalf of shareholders of

       UCRC and UCRC Holdings has an effective remedy;

              H.     Awarding Miller, both individually and on behalf of shareholders of UCRC and

       UCRC Holdings, reasonable attorney's fees and the costs of this action; and

              I.     Awarding Miller, both individually and on behalf of shareholders of UCRC and

       UCRC Holdings, such other and further relief as may be just, proper and equitable.

                                        DEMAND FOR JURY TRIAL

              Plaintiff demands a trial by jury on all issues so triable.




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                                          VERIFICATION

           I, JEFFREY Miller, declare that I have reviewed the Complaint and Shareholder

  Derivative Petition prepared on behalf of UCRC, Inc. and UCRC Holdings, Inc and I authorize

  its filing. I have reviewed the allegations made in the Complaint, and to those allegations of

  which I have personal knowledge, I believe those allegations to be true. As to those allegations

  of which I do not have personal knowleAige, I rely on my counsel and his investigation and for

  that reason believe them to be true. I further declare that I am a bona fide holder for value of

  common stock of UCRC, Inc. and UCRC Holdings, Inc. The corporate records of UCRC, Inc.

  and UCRC Holdings, Inc. reflect, to the best of my knowledge, or reasonably should reflect, my

  ownership interest in these entities.    I believe that such corporate records are in the sole

  possession, custody and control of either Gary Hoste or the corporate accountant[s] or corporate

  attorney[s] for the Nominal Defendants, who has denied my access to such corporate records. If,

  for any reason, the corporate records are inconsistent with this declaration, I further declare that

  any contrary record evidence which may indicate that I was never a holder of common stock in

  UCRC, Inc. or UCRC Holdings, Inc. is the result of fraudulent conduct by Gary Hoste,


  Dated:   June J.!Ji)c:l0 I '                           ~
                                                        JeYTef
  STATE OF CALIFORNIA           )
  COUNTYOF f.0Y1fr~             )
                          l.eJS~
          BEFORE ME personally appeared Jeffrey Miller, who after first being duly sworn, has
  attested to the truth of the foregoing Verification.
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                                                                 NOTARY PUBLIC
                                                                 State of California

  My commission expires:
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          Case No. 11-61946-CIV-ROSENBAUM/SELTZER


   JEFFREY MILLER, individually and
   derivatively on behalf of Nominal
   Defendants UCRC, Inc., and
   UCRC Holdings, Inc.,

                          Plaintiff,

   v.

   GARY HOSTE and Nominal Defendants
   UCRC, Inc., and UCRC Holdings, Inc.,

                          Defendants.
                                                  /


        ORDER ON PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

          This matter is before the Court on Plaintiff Jeffrey Miller’s Motion for Partial Summary

   Judgment [D.E. 88]. The Court has carefully reviewed Plaintiff’s Motion, all supporting and

   opposing filings, and the entire record. For the reasons set forth below, the Court now grants

   Plaintiff’s Motion in part and denies it in part with respect to Count I and denies it with regard to

   Counts VII and VIII.

                                             I. Background

          This lawsuit arises out of a dispute between Plaintiff Jeffrey Miller and Defendant Gary

   Hoste over the purchase and ownership of a chiropractic practice called UCRC, Inc. (“UCRC”).

   Originally, it appears that Miller and Hoste made an oral agreement to purchase UCRC together.

   Although the parties dispute whether this occurred, and, if so, what, if any percentages of ownership

   were agreed to, eventually, the parties represented Hoste to be the intended 85% owner with Miller



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   as the intended 15% owner, in documents filed to obtain financing for the deal. Nevertheless, Hoste

   and Miller separately entered into a written agreement providing Miller with the opportunity to buy

   another 35% of UCRC’s shares in exchange for $35.00 just after the sale of UCRC to Miller and

   Hoste, so Miller and Hoste would each own 50% again.

           Just over three months after the sale of UCRC occurred, Hoste amended the articles of

   incorporation of UCRC’s holding entity to reflect that Hoste was the sole owner of the company.

   Based on this series of events, Miller seeks a declaratory judgment, among other remedies, declaring

   him to be the owner of 50% of UCRC. For his part, Hoste disputes that Miller ever fulfilled his

   obligations under the original oral agreement to split ownership, so he is not entitled to any shares

   of UCRC. And, even Miller satisfied his obligations under the original agreement, Hoste argues,

   Miller never paid the $35.00 for the 35% of the shares. Therefore, Hoste insists, Miller is not

   entitled to any of the relief he seeks.

                                             II. Material Facts1

   A. Background

           1. Jeffrey Miller was first licensed as a chiropractor in Massachusetts in 1997. Shortly

   thereafter, he was licensed in California. Since 1997, Miller has practiced as a chiropractor in

   California, where he worked both as an employee in medical clinics and as a self-employed operator

   of his own chiropractic clinics.


           1
           The Court has set forth the material facts based on its review of Plaintiff’s Statement of
   Material Facts [D.E. 90], Defendant’s Response to that Statement [D.E. 98], Plaintiff’s Reply to
   Defendant’s Response to the Statement of Material Facts [D.E. 102], and the exhibits filed in the
   record. In accordance with Local Rule 7.5(d), all material facts set forth in Plaintiff’s Statement
   and supported by evidence of record are deemed admitted unless controverted by Defendant’s
   Response. Also, where no controversy exists over a proposed statement of material fact, the
   Court does not include citations.

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          2. Gary Hoste was first licensed as a chiropractor in Hawaii in approximately 2000. About

   a year and a half later, Hoste was licensed in California. Hoste has held a chiropractic license in

   Florida since about June 2007.

          3. Hoste assisted Miller with the marketing of some of Miller’s early practices. In

   approximately 1997, Hoste also worked for a year to a year and a half as an employee of Miller,

   providing chiropractic assistance at Holistic Health Center in California. Beginning in 2001, after

   Hoste returned to California from Hawaii, Hoste worked for four-and-a-half years as an employee

   for Redwood Rehab, which was partially owned by Miller until he sold his interest in 2005 or 2006.

   Despite the sale, Miller continued to provide chiropractic care to patients at the successor in interest

   to Redwood Rehab until some time between the end of 2007 and 2009.

          4. Hoste went to Florida in July 2007 to obtain his chiropractic license and explore what he

   thought would be better chiropractic markets.

   B. The Acquisition of UCRC

          5. Another individual (UCRC’s “Operator”) hired Hoste to work as a full-time salaried

   employee for UCRC in August 2007. Hoste mistakenly believed upon his hiring that the Operator

   owned UCRC.

          6. As it turned out, as of July 2, 2007, the Operator had, in fact, made an offer to purchase

   UCRC from the existing shareholders, Robert Findlay, D.C., and Kent Bernarduci. The UCRC

   minutes of July 2, 2007, reflect that UCRC agreed to continue to proceed with the Operator’s offer

   to buy UCRC, pending approval of Florida’s Agency for Health Care Administration (“AHCA”) and

   the Chiropractor’s Lender, despite concern that Dr. Findlay expressed about the Operator’s limited

   business and industry experience. At that meeting, Dr. Findlay suggested a possible management


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   contract with the Operator, with supervision by Findlay and Bernarduci.

          7. The UCRC minutes of October 1, 2007, reflect that the Operator was not performing

   effectively as a manager. The Operator was “overwhelmed” with marketing duties. In view of the

   circumstances, Findlay and Bernarduci suggested that the Operator be placed on probation for six

   weeks. The minutes show that Hoste attended the meeting, but no indication exists that Hoste was

   involved in the proposed acquisition by the Operator.

          8. On October 10, 2007, the Operator and Hoste applied together for a loan from Northwest

   Community Bank to purchase UCRC for $650,000.00.

          9.   Hoste orally communicated to Miller certain concerns that Hoste had about the

   contemplated acquisition of UCRC. Among Hoste’s concerns were that Hoste himself lacked

   financial capacity either to purchase UCRC or to contribute capital towards the financing of an

   acquisition of UCRC; that the Operator had insufficient knowledge of the chiropractic field; and that

   Hoste was unsure how to structure the transaction. D.E. 1 at ¶ 13; D.E. 33 at ¶ 1.2

          10. In approximately November or December 2007, Hoste asked Miller in a telephone

   conversation to buy the UCRC practice with him. D.E. 90 at ¶ 13; D.E. 99 at ¶ 3. Miller contends

   that Hoste offered him a 50% ownership of UCRC, but Hoste states that the amount of ownership

   that Hoste was willing to offer Miller was flexible and dependent upon what Miller did in



          2
            While Defendant’s Statement of Material Facts claims that “Defendant denied most of
   the allegations of Plaintiff’s paragraph 13 of the Complaint,” the Court disagrees. Instead,
   Defendant’s Answer and Amended Affirmative Defenses denied matters that are not alleged in
   paragraph 13 of the Complaint. See D.E. 13 at ¶ 1 (denying “speaking to Miller about the
   amount of the purported purchase at the time described or, at any time, about the alleged
   proportion of ownership in Miller of any interest in UCRC, Inc. or UCRC Holdings, Inc.”).
   Accordingly, the allegations contained in paragraph 13 of the Complaint — and in paragraph 12
   of Plaintiff’s Statement of Material Facts — is deemed admitted.

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   furtherance of the purchase and operation of UCRC. See D.E. 90-2 at 57:18-59:7. Hoste further

   claims — and Miller disputes — that Hoste was willing to give Miller a 50% interest in the

   acquisition of UCRC only if Miller would serve as a guarantor on the loan for the purchase of

   UCRC, although nothing in the record indicates that Hoste conveyed this information to Miller, even

   if he thought it to himself. Moreover, despite being deposed and asked in what way Miller

   misrepresented his services in helping to obtain a loan for the purchase of UCRC, Hoste’s first

   mention of his contention that Miller’s 50% ownership was contingent upon Miller’s guaranty of the

   UCRC purchase loan appears in Hoste’s Affidavit filed in opposition to Miller’s Motion for

   Summary Judgment. See D.E. 99 at ¶ 4 (“[W]hen Miller and I discussed being partners, we did not

   discuss the percentage that each of us would have in the Company. However, I would not agree to

   Miller being a fifty per cent partner with me unless he was also going to be on the loan individually

   as a Guarantor”). Finally, Hoste states that although he denies having told Miller that Miller would

   have a 50% interest in UCRC, if he did make such a statement, that occurred before Miller failed to

   qualify as a guarantor and before Hoste “observed that Miller was not able to market UCRC

   effectively.” D.E. 98 at ¶ 32.

          11. Findlay and Bernarduci were willing to sell to Hoste and Miller, whereas they were not

   willing to sell to Hoste and the Operator, because Miller had successfully run chiropractic business,

   and the Operator had not. Further, Miller was bringing some money to the table and had some

   marketing knowledge.

          12. The UCRC minutes of January 1, 2008, reflect that the Operator was removed effective

   November 15, 2007, from all corporate activities. They further state “that a new offer was being

   presented by Dr. Gary Hoste and Jeffrey Miller which would be submitted for approval on 1/6/08.”


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   Bernarduci expressed “high confidence” in Hoste and Miller and noted Miller’s “vast experience in

   the industry” and “extensive experience in the financing and loan [sic].”

           13. On January 16, 2008, Miller wired a $10,000.00 good-faith deposit for the purchase of

   UCRC to the Bank of America IOLTA account of the UCRC attorney.

           14. Some time between December 2007 ant June 2008, Miller and Hoste met with the

   Deputy Mayor of the City of Sunrise, Donald K. Rosen. During that meeting, Miller, Hoste, and

   Rosen discussed the logistics of developing a chiropractic venture in Sunrise, including the logistics

   of corporate marketing, regulatory requirements, and participation in the municipal insurance plan.

   Rosen recalls that Hoste expressly represented to Rosen at that time that Miller was his “50/50

   partner” in the acquisition of UCRC. D.E. 90-10 at ¶ 5. Hoste disputes that he ever made such a

   statement, but he states that if he ever did say “anything similar to that, it was prior to Miller failing

   to qualify as a guarantor and before Hoste observed that Miller was not able to market UCRC

   effectively.” D.E. 98 at ¶ 32.

           15. In March 2008, a CIT Small Business Lending Corporation representative orally advised

   Hoste and Miller that Hoste should be listed on the loan documents as an 85% owner of the

   purchasing entity because Hoste’s personal credit rating was better than Miller’s.

           16. Therefore, Hoste and Miller agreed that, for purposes of securing the loan for the

   purchase of UCRC, Hoste and Miller would be listed on all CIT loan documents as having 85% and

   15% ownership interests, respectively, in UCRC.

           17. The application submitted to CIT Small Business Lending Corporation in order to obtain

   a loan of $470,000 to purchase UCRC identifies Hoste as the intended 85% owner and Miller as the

   intended 15% owner of the company. See D.E. 92-2 at 77-79. In addition, the CIT Small Business


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   Lending Corporation “Credit Write-Up/Corp. to be Formed & UCRC, Inc. dba Universal

   Chiropractic” describes Miller as the 15% owner of the Borrower/Purchaser.

          18. Miller drafted a written marketing plan for UCRC for the CIT loan application.

          19. Hoste personally guaranteed the loan because Hoste had better credit than Miller, and

   Miller did not want to serve as the guarantor on the loan because he was concerned that if anything

   happened to Hoste and Miller was not licensed practice in Florida, Miller would be left liable. D.E.

   90-1 at 152:24-153:14.

          20. Miller did not complain about being listed as only a 15% owner because he wanted the

   loan to close on time. At the time that Miller and Hoste signed the loan application, neither one was

   a shareholder. Miller and Hoste had an agreement that did not appear in the loan application that

   Miller would be allowed after the closing to purchase 35% of UCRC’s shares for $35.

          21. On March 3, 2008, Miller paid the application fee of $2,000.00 and the fingerprinting

   fee of $42.25 for the Florida AHCA application relating to the purchase of UCRC. The monies were

   paid by checks drawn on Miller’s Tower Equity Group business account. On the AHCA application,

   Miller stated that he was to be a 15% shareholder of AHCA.

          22. On about March 6, 2008, Hoste and Miller, as the designated “Purchasers,” entered into

   a Stock Purchase Agreement (“UCRC Stock Purchase Agreement”) with Bernarduci and Findlay,

   as Sellers, pursuant to which the Sellers agreed to deliver 100% of the outstanding shares of UCRC,

   Inc., in consideration of a $475,000.00 purchase price. Although Miller and Hoste both negotiated

   the contract with the Sellers, D.E. 99 at ¶ 5, Miller was responsible for negotiating the purchase price

   for UCRC down to $475,000 from the price of $776,500 that the Operator had previously agreed to

   pay, D.E. 93-1 at Response to Request No. 2.


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           23. The UCRC minutes of April 1, 2008, report that the proposed closing date of the sale

   to potential owners Gary Hoste and Jeffrey Miller was nearing and that Bernarduci, who was in

   contact with Miller on a regular basis, would update the company as to a final closing date.

           24. On April 30, 2008, Hoste signed an agreement with Miller in which Hoste represented

   himself as the “record owner[] and holder[] of 85% of the outstanding shares of the capital stock of

   UCRC, Inc.” (the “35% Agreement”). D.E. 1-6. The 35% Agreement further provided that “in

   consideration of the mutual covenants and agreements contained in [the 35% Agreement], and in

   order to consummate the purchase and the sale of [UCRC’s stock], it is hereby agreed . . . [that

   Hoste] shall convey, transfer and deliver to [Miller] certificates representing 35% of the total UCRC

   stock [for total consideration of $35.00] . . . on May 30, 2008, or within 60 days of May 30, 2008

   at [Miller’s] discr[e]tion . . . .” Id.

           25. CIT Small Business Lending Corporation had knowledge and assented to the executory

   transfer of shares of 35% of the corporation from Hoste to Miller.

           26. The UCRC minutes of June 2, 1998, reflect that “Dr. Findlay and Kent Bernarduci as

   sole and equal shareholders do hereby unanimously agree to approve the sale of 100% of the UCRC,

   Inc. stock to Dr. Gary Hoste and Jeffrey Miller provided all contract and closing requirements are

   met pursuant to the time constrain[t]s of the contract.”

           27. Miller wrote a personal check dated June 19, 2008, to Gary Hoste for $1,350. D.E. 93-1

   at 17-18. In the memo section o f the check, the check appears to say “Cont. pymt.” Id. The ledger

   for this check indicates “Ind. Contractor & pymt.” Miller contends that this check was payment for

   an independent contractor and for the $35.00 for the 35% of the shares. No other evidence, including

   a cover letter, a memo, an email, or any type of confirmation that would tend to corroborate Miller’s


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   position is a part of the record. Hoste asserts that he was never paid for the 35% of the shares and

   that the $1,350 had nothing to do with payment for the 35% of the shares.

          28. The CIT Small Business Lending Corporation documents reflect that Miller and Hoste

   were required to form a new entity, namely UCRC Holdings, Inc. (“UCRC Holdings”), for the

   purpose of acquiring 100% of the UCRC stock from Findlay and Bernarduci.

          29. Accordingly, Hoste and Miller incorporated UCRC Holdings on June 30, 2008. The

   articles of incorporation designate Miller as the vice president and secretary and Hoste as the

   president, director, registered agent, and incorporator. They do not set forth the proportional

   ownership between Miller and Hoste.

          30. On June 30, 2008, the loan from CIT Small Business Lending Corporation in the amount

   of $470,000 was consummated, and 100% of the stock of UCRC was acquired for $475,000. The

   CIT loan documents specifically required that the new or transferred stock certificates in the name

   of UCRC Holdings be brought to the closing and returned to CIT.

          31. On June 30, 2008 (the date of the closing), Miller was at the UCRC office and witnesses

   Hoste sign various documents. The closing was not formal; it involved the exchange of documents

   by facsimile.

          32. On June 30, 2008, Findlay and Berarduci each trasnferred 100 shares of stock to UCRC

   Holdings by way of an endorsement that appointed Hoste to transfer the shares on the books of

   UCRC Holdings.

          33. Hoste did not transfer the shares on the books of UCRC Holdings on June 30, 2008. At

   a time and date that is not specified in the record, Hoste issue3d to himself two certificates of 100

   shares each of UCRC and one certificate of 200 shares of UCRC Holdings, both of which reflect a


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    date of June 30, 2008.

           34. The June 30, 2008, loan documents include a sworn affidavit from Hoste in which Hoste

    attests that as of that date, the borrower’s ownership is as stated on the loan application (85% Hoste,

    15% Miller).

           35. The documents submitted in support of the loan application identify Miller and Hoste

    as the “Buyers” and “Purchasers” of the entity acquiring UCRC. Miller is further designated as the

    secretary of UCRC Holdings.

           36. During the period before the acquisition of UCRC, Miller began to live part-time with

    Hoste at the Wave Condominium in Hollywood Beach. Beginning at the end of 2007, Miller

    traveled to Florida one to two times each month initially for eight to nine days per month and then

    more frequently as the closing date of June 30, 2008, approached (up to fifteen days each month).

           37. Before the acquisition of UCRC, Miller was instrumental in (1) negotiating the terms

    of a stock purchase agreement with Findlay and Bernarduci for the acquisition of UCRC; (2)

    working with CIT Small Business Lending Corporation to consummate the approval of the small

    business loan for the purchase of UCRC; and (3) applying for and procuring health-care licensure

    from Florida AHCA.

    C. The Events Occurring After the Acquisition of UCRC

           38. On July 2, 2008, AHCA accepted the application for health care licensure that was based

    on an application where Miller was designated as a 15% owner of UCRC.

           39. Before and after the acquisition of UCRC, Miller marketed UCRC by meeting with

    various lawyers, lawyers’ representatives, and City of Sunrise officials. D.E. 90 at ¶ 27. Miller also

    set up marketing events at a local spa. Id. Despite these activities, Miller’s marketing efforts never


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    produced even one dollar for UCRC. D.E. 98 at ¶ 27.

            40. In about September 2008, Miller canceled marketing events for UCRC because Hoste

    was ignoring deadlines about which Miller had repeatedly notified Hoste by email.

            41. Miller feared a squeeze-out by Hoste and therefore noticed an October 14, 2008, special

    meeting of the officers and directors of UCRC Holdings.

            42. On October 3, 2008, Hoste unilaterally amended the articles of incorporation of UCRC

    Holdings to reflect that Hoste was the sole initial officer or director, or both, of the corporation. The

    articles of amendment to the UCRC articles of incorporation represented that the adopted

    amendment was approved by a majority of vote of the shareholders.                   Hoste signed this

    representation.

            43. On October 6, 2008, Hoste submitted to AHCA an application for certificate of

    exemption for licensure. This application, which represented that UCRC is “100% [Florida-

    licensed] physician owned by Dr. Gary Hoste, D.C.,” was approved on October 14, 2008.

            44. Hoste admitted that he knew of no corporate action that was taken to remove Miller as

    a 15% owner of UCRC Holdings. Instead, Hoste said, “The shares were signed over to me as

    president 100%, and that’s the only action that I can recall that occurred.”

            45. The UCRC and UCRC Holdings tax returns reflect that Miller has never been issued a

    Schedule K-1.

            46. On March 13, 2009, Hoste filed electronic articles of organization for CBA Health &

    Wellness, LLC (“CBA”), a Florida limited liability company of which he is the 100% owner. Like

    UCRC, CBA does business under the fictitious name, “Universal Chiropractic.”

            47. According to the articles of organization, CBA provides chiropractic services. Until


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    2011, CBA Wellness and UCRC were at different locations and were run separately. Since that

    time, however, Hoste is unable to distinguish CBA from UCRC in terms of its employees, its

    services, or its customers.

           48. Preferential distributions were paid exclusively to Hoste from UCRC Holdings in the

    following amounts: 2008: $19,834; 2009: $212,216; 2010: $213,410. This totals $445,460.

           49. Preferential distributions were paid exclusively to Hoste from CBA in the following

    amounts: 2011: $99,118. The aggregate amount of preferential distributions to Hoste from UCRC

    Holdings and CBA during the relevant period is approximately $545,000.

           50. In addition, between 2008 and 2011, Hoste at least another $427,462 was spent. Miller

    contends this money was “constructive dividends,” while Hoste asserts without financial support that

    it was “legitimate business deductions.”

                                    III. Summary Judgment Standard

           Summary judgment is appropriate if “the movant shows that there is no genuine dispute as

    to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

    Not any factual dispute will defeat a motion for summary judgment; rather, “the requirement is that

    there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

    (1986) (emphasis in original). A dispute is genuine if “a reasonable trier of fact could return

    judgment for the non-moving party.” Miccosukee Tribe of Indians of Fla. v. United States, 516 F.3d

    1235, 1243 (11th Cir. 2008) (citing Anderson, 477 U.S. at 247-48). A fact is material if “it would

    affect the outcome of the suit under the governing law .” Id. (citing Anderson, 477 U.S. at 247-48).

           In deciding a summary judgment motion, the Court views the facts in the light most favorable

    to the non-moving party and draws all reasonable inferences in that party’s favor. See Davis v.


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    Williams, 451 F.3d 759, 763 (11th Cir. 2006). Further, the Court does not weigh conflicting

    evidence. See Skop v. City of Atlanta, 485 F.3d 1130, 1140 (11th Cir. 2007). Thus, upon

    discovering a genuine dispute of material fact, the Court must deny summary judgment. See id.

           The moving party bears the initial burden of showing the absence of a genuine dispute of

    material fact. See Shiver v. Chertoff, 549 F.3d 1342, 1343 (11th Cir. 2008) (per curiam). Once the

    moving party satisfies this burden, “the nonmoving party ‘must do more than simply show that there

    is some metaphysical doubt as to the material facts.’”        Ray v. Equifax Info. Servs., LLC,

    327 F. App’x 819, 825 (11th Cir. 2009) (per curiam) (quoting Matsushita Elec. Indus. Co., Ltd. v.

    Zenith Radio Corp., 475 U.S. 574, 586 (1986)). Instead, “[t]he non-moving party must make a

    sufficient showing on each essential element of the case for which he has the burden of proof.” Id.

    (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)). Accordingly, the non-moving party

    must produce evidence, going beyond the pleadings, to show that a reasonable jury could find in

    favor of that party. See Shiver, 549 F.3d at 1343.

                                             IV. Discussion

           Plaintiff seeks summary judgment on Counts I, VII, and VII of his Complaint. The Court

    considers each below.

    A. Count I

           In Count I of the Complaint, Miller seeks a declaratory judgment that (1) Hoste has willfully

    and oppressively “squeezed out” Miller as an officer, director, and shareholder of UCRC Holdings,

    and (2) Miller has a vested interest as a 50% shareholder of UCRC Holdings with a commensurate

    right to 50% of profits and distributions of UCRC Holdings, UCRC, and CBA. In the alternative

    to the second requested declaration, Miller asks for a declaratory judgment that Miller has a vested


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    interest as at least a 15% shareholder of UCRC Holdings, Inc., with a commensurate right to at least

    15% of profits and distributions of UCRC Holdings, Inc., UCRC, Inc., and CBA.

           Essentially, Miller seeks the requested declaratory judgment based on an alleged oral contract

    between himself and Hoste regarding the ownership of UCRC and UCRC Holdings. Oral contracts

    are “subject to the basic requirements of contract law such as offer, acceptance, consideration and

    sufficient specification of essential terms.” St. Joe Corp. v. McIver, 875 So. 2d 375, 381 (Fla. 2004)

    (citation omitted). If nonessential terms are left open, that fact will not preclude the finding of an

    oral contract. Id. (citation omitted). A party who claims the existence of an oral contract bears the

    burden of proving the oral contract by a preponderance of the evidence. Id. (citation omitted).

           In addition, the parties to an oral contract can modify the contract through a subsequent

    agreement. Id. (citations omitted). In determining whether a contract has been modified, the court

    may consider the actions of the parties. Id. at 382 (citations omitted). But a party cannot modify a

    contract unilaterally. Id.

           Based on the record in this case, the Court finds that Miller and Hoste entered into an oral

    contract for the ownership of UCRC, with Miller to enjoy at least a 15% share of UCRC and Hoste

    to have no more than an 85% share. Both the paper trail and the parties’ actions indisputably prove

    the existence of such an oral contract. First, the application submitted to CIT Small Business

    Lending Corporation in order to obtain a loan of $470,000 to purchase UCRC identifies Hoste as the

    intended 85% owner and Miller as the intended 15% owner of the company. In addition, the

    underlying paperwork supporting the loan, which closed on June 30, 2008, identifies both Hoste and

    Miller as the “buyers” and “purchasers” of UCRC Holdings, which was buying UCRC.

    Significantly, Hoste signed and personally guaranteed the loan that was based on this paperwork,


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    evidencing his knowledge and assent to the contents of the supporting paperwork. And, on April

    30, 2008, Hoste signed an agreement with Miller in which Hoste represented himself as the “record

    owner[] and holder[] of [only] 85% of the outstanding shares of the capital stock of UCRC, Inc.”

    Hoste does not deny the authenticity of any of these documents. Moreover, the contract is supported

    by the consideration that Miller provided in the form of involvement in negotiating the deal for the

    sale of UCRC, helping to obtain the financing for the loan, providing financial support for the deal,

    contributing his business acumen, and marketing the practice.

             Under these circumstances, Hoste’s naked denials that he entered into such a contract with

    Miller cannot satisfy his burden to show a material issue of fact in the face of the uncontroverted

    documentary evidence proving the existence of the oral contract. Even Hoste, at best, tries to spin

    his offer to Miller of ownership of UCRC by stating that the amount of ownership that Hoste was

    willing to offer Miller was flexible and dependent upon what Miller did in furtherance of the

    purchase and operation of UCRC. In light of the undisputed evidence of record, however, no

    reasonable factfinder could conclude that Hoste and Miller did not enter into an oral contract for the

    ownership of UCRC and UCRC Holdings in an amount of at least 15% for Miller and 85% for

    Hoste.

             Hoste’s apparent attempt to show a failure of consideration must likewise fail. Specifically,

    Hoste argues that even if he agreed with Miller to share the ownership of UCRC in some way, he

    did so before Miller did not serve as a guarantor on the CIT loan and before Hoste observed Miller’s

    alleged marketing failures. First, the timing and content of Hoste’s decision to guarantee the CIT

    loan belies his claim that part of the consideration for Miller to obtain shares of UCRC included his

    serving as a guarantor on the CIT loan. The conversation with the CIT representative in which


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    Miller and Hoste agreed that Miller would be a 15% owner and Hoste would be an 85% owner and

    that Hoste would guarantee the loan — because of Hoste’s better credit rating than Miller’s —

    occurred in early March 2008. Indeed, by March 3, 2008, Miller was submitting a licensure form

    to AHCA with the 15%/85% ownership interests already listed. Moreover, just to obtain the loan,

    Hoste had to guarantee the loan, which was based on the underlying paperwork showing a 15%/85%

    split of UCRC between Hoste and Miller. Obviously, Hoste knew at the time that he guaranteed the

    loan that Miller would not be serving as a guarantor on the loan. Yet he still filed the application

    for the loan reflecting a 15%/85% ownership split. If Hoste were going to claim that Miller’s refusal

    to serve as a guarantor of the loan resulted in a failure of consideration, he would have refiled the

    loan application documents based on an intended 100% ownership interest in UCRC.

           Not only that, but nearly two months passed between these events and Hoste’s reaffirmation

    of the 85%/15% split in the 35% Agreement — and four months elapsed between these events and

    Hoste’s closing on June 30, 2008, on the loan based on 85%/15% split paperwork. Again, if a failure

    of consideration based on Miller’s declination to guarantee the loan had occurred, there would have

    been no reason for Hoste to have signed the 35% Agreement or to have closed on the loan on June

    30, 2008, with the paperwork reflecting the 15%/85% split underlying the loan. Moreover, Hoste’s

    signing of the 35% Agreement, which expressly confirms that Miller’s ownership of UCRC is

    limited to 85%, proves Miller’s vested anticipated ownership of 15% of UCRC as of April 30, 2008.

           For the same reason, Hoste is unable to create a material issue of fact concerning failure of

    consideration based on Miller’s alleged marketing failures. Even setting aside the fact that the record

    contains no evidence that Hoste advised Miller that Miller’s marketing activities were required to

    bring in a certain number of clients (so there is no evidence of a meeting of the minds with respect


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    to this alleged condition of the contract), the record is clear that Miller engaged in marketing

    activities well before the UCRC deal was consummated. In fact, Miller prepared a marketing plan

    for UCRC in support of the CIT loan application and he met with lawyers, city officials, and others

    to promote UCRC. After these marketing activities, Hoste ratified the 15%/85% ownership split for

    UCRC in documents submitted in support of the CIT loan application when he closed on the CIT

    loan on June 30, 2008, and when he signed the 35% Agreement — even though he must have known

    at those times that the marketing efforts had not resulted in any new patients. In short, a reasonable

    factfinder could conclude only that Miller and Hoste entered into an agreement for ownership of

    UCRC in an amount of at least 15% for Miller and no more than 85% for Hoste. The fact that, in

    hindsight, Hoste might view this as a bad deal does not make it any less of a binding contract.

           Whether this contract was later modified to adjust the ownership of UCRC to 50% for each

    party, however, is the subject of a dispute over material issues of fact. While Hoste plainly signed

    the 35% Agreement allowing for the possibility that Miller would be able to obtain up to 50% of the

    ownership of UCRC, whether the $35.00 consideration was ever paid to Hoste within the required

    time frame remains an open question.

           On the one hand, Miller states that he made the required payment in a check dated June 19,

    2008, for $1,350. But Hoste denies that the check at issue included payment for the 35 shares, and,

    on its face, the check does not appear to indicate that it is for payment for the 35 shares. Nor has

    Miller come forward with any other documentation to demonstrate payment for the 35 shares within

    the requisite period. Under these circumstances, summary judgment is not appropriate, as a material

    issue of fact remains in dispute. Therefore, summary judgment on Count I is granted in part and

    denied in part, consistent with the terms of this Order.


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    B. Counts VII and VIII

           Count VII alleges that Hoste breached his fiduciary duty to UCRC by engaging in the

    following activities:

                   a.       compensating himself excessively and making preferential
                            illicit distributions to himself, which also constitutes
                            corporate waste pursuant to Fla. Stat. § 607.07401;

                   b.       failing to disclose all material information, including the
                            corporate records and financial information relating to the
                            operations UCRC;

                   c.       exceeding the scope of his authority by instructing CPA Bob
                            Hovenan to deny Miller, a 50% shareholder, access to
                            financial information relating to the operations of UCRC;

                   d.       squeezing out Miller from the operation and enjoyment of the
                            enterprise without consideration;

                   e.       converting Miller’s personal property interest in UCRC, for
                            his own personal benefit and thus depriving Miller of his
                            direct, indirect, derivative or residual interest in UCRC’s
                            book of business and/or its benefits.

                   f.       refusing to pay Miller (the other shareholder) while making
                            preferential distribution to himself;

                   g.       diverting or misappropriating revenues from the operations of
                            UCRC solely for his personal benefit.

                   h.       usurping corporate opportunities; and

                   i.       wasting corporate assets by failing to take advantage of
                            Miller’s special expertise as a developer of corporate markets.

    D.E. 1 at 21-22.

           Similarly, Count VIII asserts that Hoste breached his fiduciary duty to UCRC Holdings by

    doing the following:



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                   a.      compensating himself excessively and making preferential
                           illicit distributions to himself, which also constitutes
                           corporate waste pursuant to Fla. Stat. § 607.07401;

                   b.      failing to disclose all material information, including the
                           corporate books and records and financial information
                           relating to the operations of UCRC Holdings;

                   c.      squeezing out Miller from the operations and enjoyment of
                           the enterprise without consideration;

                   d.      making a material misrepresentation to the Florida Secretary
                           of State that a majority vote was taken at a shareholder
                           meeting to oust Miller as an officer and director of UCRC
                           Holdings, when in fact no such meeting was held and no such
                           majority vote was taken;

                   e.      converting Miller’s personal property interest in UCRC
                           Holdings for his own personal benefit and thus depriving
                           Miller of his direct, indirect, derivative or residual interest in
                           UCRC Holdings’ book of business and/or its benefits.

                   f.      refusing to pay Miller (the other shareholder) while making
                           preferential distribution to himself;

                   g.      diverting or misappropriating revenues from the operations of
                           UCRC Holdings solely for his personal benefit; and

                   h.      usurping corporate opportunities.

    D.E. 1 at 23-24.

           Before the Court can address whether summary judgment may be granted on these counts,

    it must first consider whether, as Miller suggests, Counts VII and VIII may be construed as claims

    that Hoste breached his fiduciary duty to Miller personally, instead of viewing the counts as they are

    pled — that is, as derivative shareholder claims. Plaintiff correctly asserts that Florida does

    recognize an individual claim by a minority shareholder against a majority shareholder for breach

    of duty. See Hodges v. Buzzeo, 193 F. Supp. 2d 1279, 1288 (M.D. Fla. 2002) (citing Tillis v. United


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    Parts, Inc., 395 So. 2d 618, 619 (Fla. 5th DCA 1981) (citation omitted)). The inquiry into whether

    a claim for breach of fiduciary duty by a majority shareholder may be brought as an individual (or

    direct) suit or whether, instead, it must be pursued as a derivative suit rests on the following

    considerations:

                    An action brought by a stockholder is derivative if the gravamen of
                    the complaint is injury to the corporation or to the whole body of its
                    stock or property and not injury to the plaintiff’s individual interest
                    as a stockholder. . . . Conversely, direct action, or as some prefer, an
                    individual action, is a suit by a stockholder to enforce a right of action
                    existing in him. What these definitions attempt to convey is that a
                    stockholder may bring suit in his own right to redress an injury
                    sustained directly by him, and which is separate and distinct from that
                    sustained by other stockholders. If, however, the injury is primarily
                    against the corporation, or the stockholders generally, then the cause
                    of action is in the corporation and the individual’s right to bring it is
                    derived from the corporation. . . .

    Id. (quoting Alario v. Miller and Miller, 354 So. 2d 925, 926 (Fla. 2d DCA 1978)).

           Based on these distinctions, in this case, some of the alleged breaches of fiduciary duty could

    be brought individually by Miller, but others could not. For example, “wasting corporate assets by

    failing to take advantage of Miller’s special expertise as a developer of corporate markets” causes

    injury to the corporation, not directly to Miller personally.          Therefore, it must be pursued

    derivatively. But claims such as “squeezing out Miller from the operations and enjoyment of the

    enterprise without consideration” allegedly inflict injury directly on Miller and thus could be brought

    individually.

           Here, regardless of how the claims could be brought, however, they are actually pled as

    derivative claims. Nonetheless, Miller urges the Court to disregard the form of Counts VII and VIII

    and to treat them as though they are brought individually. In support of this approach, Miller directs



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    the Court to Donahue v. Rodd Electrotype Co. of New England, Inc., 328 N.E.2d 505, 508 n.4 (Mass.

    1975). In that case, the court elected to analyze claims that were pled derivatively as though they

    had been pled directly where those claims could have been brought directly. In providing the basis

    for proceeding this way, the court noted that the parties had all treated the claims as though they had

    been pursued directly, and the case was tried that way as well, apparently without any objection by

    the opposing party. See id. As a result, the court explained, “In this instance we prefer substance

    over form and decide the case on this basis.” Id. Noting that Florida courts have cited Donahue

    favorably regarding the existence of a fiduciary duty on all shareholders in a close corporation,

    Miller implicitly suggests that it is no stretch to believe that Florida courts would likewise adopt

    Donahue’s approach to breach-of-fiduciary claims that could have been brought directly but were,

    in fact, pled derivatively.

            The problem with Miller’s position arises from the language of Donahue itself. As noted

    above, Donahue limits its substance-over-form approach to the unique circumstances that existed

    in that case — that is, the parties all proceeded through an entire trial and through appellate

    proceedings as though the claims had been brought directly, even though they had been pled

    derivatively. That is not the case here. First, unlike the Donahue defendants, Hoste challenges

    Miller’s attempt to ignore the form in which he chose to plead his breach-of-fiduciary-duty claims.

    Second, no trial has yet occurred in this case, so the investment of the parties’ resources, as well as

    judicial resources, is substantially less than it was in Donahue, where both trial and appellate

    proceedings had already occurred. Third, allowing, as a matter of course, parties to proceed directly

    after having pled derivatively would create uncertainty for defendants regarding the nature of the

    charges that they face. If a party means to proceed individually, that party should plead his claim


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                                                  Exhibit "8"
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    individually. The Federal Rules of Civil Procedure rely on a notice-pleading system. See Fed. R.

    Civ. P. 8(a); see also Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S.

    544, (2007). Therefore, barring an opposing party’s acquiescence in the treating of claims pled

    derivatively as though they were brought individually, this Court declines to extend Donahue to the

    facts presently before the Court. As a result, summary judgment on Counts VII and VIII must be

    denied.3

                                               V. Conclusion

              For the foregoing reasons, Plaintiff Jeffrey Miller’s Motion for Partial Summary Judgment

    [D.E. 88] is GRANTED IN PART and DENIED IN PART, consistent with the rulings set forth

    in this Order. Plaintiff’s Motion is granted in part and denied in part with respect to Count I and

    denied with regard to Counts VII and VIII.

              DONE and ORDERED at Fort Lauderdale, Florida, this 6th day of March 2013.



                                                            ROBIN S. ROSENBAUM
                                                            UNITED STATES DISTRICT JUDGE

    copies:

    The Honorable Barry S. Seltzer
    Counsel of Record




              3
             The Court further notes that even if it determined that consideration of Counts VII and
    VIII as though they were individually brought were appropriate, material issues of fact exist
    concerning these counts. For example, both counts allege that Hoste diverted or misappropriated
    revenues from the operations of the companies solely for his personal benefit, but Hoste contends
    that payments from the corporation were legitimate business expenditures. No evidence to
    support either theory has been filed on the record.

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                                                  Exhibit "8"
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 11-61946-CIV-ROSENBAUM

  JEFFREY MILLER,

         Plaintiff,

  vs.

  GARY HOSTE, UCRC, INC., and
  UCRC HOLDINGS, INC.,

        Defendants.
  _____________________________________/

                             FINAL JUDGMENT UPON CONSENT

         This matter is before the Court upon Plaintiff’s Motion for Entry of Final Judgment [D.E.

  112], Defendant Gary Hoste’s Confession of Judgment [D.E. 112-1], and the parties’ Joint

  Stipulation of Dismissal With Prejudice. [D.E. 113]. The parties have agreed to the entry of final

  judgment against Gary Hoste in the amount of $500,000.00 with respect to Count I of the

  Complaint and to the voluntary dismissal of the remaining counts of the Complaint.

  Accordingly, it is hereby ORDERED and ADJUDGED as follows:

         1.      Plaintiff’s Motion for Entry of Final Judgment [D.E. 112] is GRANTED;

         2.      The Court enters judgment against Defendant Gary Hoste and in favor of Plaintiff

                 Jeffrey Miller in the amount of $500,000.00;

         3.      The Court shall retain jurisdiction over this matter to enforce the settlement

                 between the parties;

         4.      The Clerk shall CLOSE this case and DENY AS MOOT any pending motions.

                 As agreed, the parties are to bear their own costs and attorney’s fees.

         DONE and ORDERED in Fort Lauderdale, Florida, this 8th day of April 2013.


                                                        ROBIN S. ROSENBAUM
                                                        UNITED STATES DISTRICT JUDGE
                                               Exhibit "9"
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        Counsel of record




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